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EXH|B|T “A”

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 7
HRP Myrtle Beach Holdings, LLC et al., : Case No. 08-12193 (KJC)

Debtors : Jointly Administered

; Hearing Date: Requested: 2/17/2009 at 10:00 a.m.
[Pending Motion to Limit and Shorten Notice]

Objection Date: Requested: 2/17/2009 at 10:00 a.m.
[Pending Motion to Limit and Shorten Notice]

NOTICE OF MOTION

 

To: (a) the United States Trustee; (b) counsel to the administrative agents for the Debtors’

prepetition secured lenders; (c) counsel to the Debtors’ postpetition lenders; (d) counsel for the

Junior DIP Lenders; (e) counsel for the Senior Indenture Trustee; (t) counsel for the Junior
Indenture Trustee; (g) counsel for the Revolving Credit Agent and Senior Post-Petition Agent; (h)
counsel to the Debtors; (i) creditors holding the twenty (20) largest unsecured claims against the
each of the Debtors as included in the Debtors’ Chapter ll Schedules or their legal counsel, if
known; (]') unsecured creditors with a scheduled claim in excess of $25,000 as identified in the
Selling Debtor’s Schedules; (k) any known secured creditors as listed in Schedule D of the
Debtors’ Chapter ll Schedules; (l) parties as listed in Schedule G of the Debtors’ Chapter ll

Schedules; (m) all persons or entities known or reasonably believed to have asserted a Lien in
any of the Purchased Assets; (n) the United States Department of Justice; (o) counsel to the
Purchaser; (p) all persons or entities known or reasonably believed to have expressed an interest
in acquiring the Purchased Assets; (q) the Attorney General for the State of South Carolina; (r)

the United States Environmental Protection Agency; (s) South Carolina Environmental Regulator;
(t) Intemal Revenue Service; (u) South Carolina Department of Revenue; (v) South Carolina
Dept. of Labor, Licensing and Regulation; (w) Horry County Treasurer’s Office; (x) Horry
County Property Assessor; (y) City of Myrtle Beach, Administration; and (z) any party who has
requested notice and service of papers pursuant to Bankruptcy Rule 2002.

PLEASE TAKE NOTICE that Alfred T. Giuliano, Chapter 7 trustee (the “Trustee”) has
filed the Motionfor Ent)'y of an Order (l) Aulhorizing Sale OfHard Rock Park Free and Clear of
All Liens, Claims, Encurnbrances and Other Interests and (II) Establishing Procedures for the
Assunzption and Assignment of Certain Designated Contracts and Unexpired Leases (the
“Motion”). Objections to the Motion, if any, may be filed on or before February 17, 2009 at
10:00 a.m. (ET) (the “Objection Deadline”) with the United States Bankruptcy Court for the
District of Delaware, 3rd Floor, 824 N. Market Street, Wilmington, DE.

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19801. At the same time, you must also serve a copy of the response upon the Trustee’s counsel:

John T. Carroll, III, Esquire
Cozen O’Connor
1201 North Market Street, Suite 1400
Wilmington, DE 19801
Telephone: (302) 295-2000
Facsimile: (302) 295-2013

PLEASE TAKE NOTICE THAT lF YOU FAIL TO RESPOND TO THE MOTION,
THE COURT MAY GRANT THE REQUESTED RELIEF WITHOUT FURTHER NOTICE
OR A HEARING.

PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE
MOTION HAS BEEN SCHEDULED BEFORE THE HONORABLE KEVIN CAREY AT THE
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N.
MARKET STREET, Sth FLOOR, COURTROOM 5, WILMINGTON, DE l9801, FEBRUARY
17, 2009 AT 10:00 A.M.

Dated: February 121/2009

 

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 7
HRP Myrtle Beach Holdings, LLC et al.,l : Case No. 08-12]93 (KJC)
Debtors : Jointly Administered

Hearing Date: Requested: 2/17/2009 at 10:00 a.m.
[Pending Motion to Limit and Shorten Notice]

Objection Date: Requested: 2/17/2009 at 10:00 a.m.
[Pending Motion to Limit and Shorten Notice]

MOTION OF ALFRED T. GIULIANO, CHAPTER 7 TRUSTEE, FOR ENTRY OF AN
ORDER (I) AUTHORIZING SALE OF HARD ROCK PARK FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS AND (II)
ESTABLISHING PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF
CERTAIN DESIGNATED CONTRACTS AND UNEXPIRED LEASES

Alfred T. Giuliano, Chapter 7 Trustee (the “Trustee”)2 for the estate of HRP Myrtle
Beach Operations LLC (the “Selling Debtor,” and together with the other related debtor
affiliates, the “Debtors”), hereby moves this Court f`or the entry of an order pursuant to sections
lOS(a)7 363 and 365 of title ll of the United States Code (the “Bankruptcy Code”) authorizing
the sale of the Purchased Assets (as defined herein) to FPI MB Entertainment LLC (the

“Purchaser”) pursuant to an Asset Purchase Agreement, dated February 9, 2009, a copy of

which is attached hereto as Exhibit “A” (the “APA”), free and clear of all liens, claims,

 

l The Debtors are the following seven entities (the last four digits of their respective taxpayer

identification numbers follow in parentheses): HRP Myrtle Beach Holdings, LLC (1546), HRP Myrtle
Beach Holdings Capital Corp. (5553), HRP Myrtle Beach Operations, LLC (1625), HRP Myrtle Beach
Capital Corp (4272), HRP Myrtle Beach Management, LLC (0297), HRP Global Management LLC
(2138) and We Got Your Back Security Co., LLC (3877). The address of each of the Debtors is 211
George Bishop Parkway, Myrtle Beach, South Carolina 29579.

2 Capitalized terms used herein as defined terms and not otherwise defined shall have those

meaning ascribed to them in the APA.

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encumbrances and other interests and to establish procedures for the assumption and
assignment of certain designated contracts and unexpired leases (the “Sale Motion”), and in

support of the Sale Motion, the Trustee respectfully states as follows:

Jurisdiction and Venue

l. The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.
This is a core proceeding under 28 U.S.C. § l57(b). Venue is proper in this district under

28 U.S.C. §§ 1408 and 1409.

General Background

2. The Debtors own a destination theme park located in Myrtle Beach, South
Carolina (the “&qk” or “Hard Rock Park”). As more fully set forth in the Affidavit of Steven
Goodwin in Support of First-Day Pleadings (the “Goodwin Affidavit”), as the world’s first
rock-’n-roll theme park, the Park offered visitors an entertainment experience that features six
unique, custom-designed zones celebrating the culture, lifestyle and legends of rock music
entertainment The Debtors are not affiliated with Hard Rock Café International, Inc., but
branded and operated the Park pursuant to a license agreement with Hard Rock Café
lnternational (USA), Inc.

3. The Park opened in April 2008, after nearly two years of construction.
Although guest satisfaction levels were reportedly strong and guests spent considerable
amounts on food, beverage and retail items, overall attendance at the Park was lower than
projected which is thought to be partly as a result of macroeconomic conditions that
significantly depressed overall demand in the travel and leisure industry, as well as the
Debtors’ inability to devote sufficient resources to local, regional and out-of-market marketing

in their initial year of operations Accordingly the Debtors were faced with significant

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liquidity constraints at the conclusion of their first season of operations and, in that context, a
substantially overleveraged balance sheet

4. On September 24, 2008 (the “Petition Date”), each of the Debtors filed a
voluntary petition for relief under Chapter ll of the Bankruptcy Code. After the Petition Date,
the Debtors continued to operate their businesses as debtors and debtors in possession under
sections 1107 and ll08 of the Bankruptcy Code.

5. On November lO, 2008, the Debtors filed a Motion to Approve an Order (I)(A)
Approving Procedures in Connection With the Sale of the Debtors’ Assets; (B) Scheduling the
Related Auction to Consider Approval of Sale; (C) Approving Procedures Related to the
Assumption of Certain Executory Contracts and Unexpired Leases; (D) Approving the Forrn
and Manner of Notice Thereof; and (E) Granting Related Relief; and (II)(A) Authorizing the
Sale of Such Assets Pursuant to the Modified Purchase Agreement Free and Clear of Liens,
Claims Encumbrances, and Other Interests; (B) Approving the Assumption and Assignment of
Certain Executory Contracts and Unexpired Leases Related Thereto; and (C) Granting Related
Relief (the “Chapter ll Sale Motion”) pursuant to which the Debtors sought approval of
certain procedures in connection with a proposed sale of the Debtors’ assets (the “ABL§”)
[Docket No. 146]. On November 20, 2008, the Court entered an order approving the proposed

sale procedures (the “Chapter ll Sale Motion Order”) [Docket No. 194]. The Chapter ll Sale

 

Motion Order set a deadline of December 12, 2008 for submitting bids and scheduled an
auction on December l5, 2008, if necessary. Unfortunately, the Debtors were unable to
generate any qualifying offers, and were therefore unable to sell their Assets. Gn or about
December 30, 2008, the Debtors informed the Court of their intention to seek conversion of

their Chapter ll cases to cases under Chapter 7 of the Bankruptcy Code.

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6. On January 6, 2009 (the “Conversion Date”), the Court entered an Order
Converting the Debtors’ Chapter ll Bankruptcy Cases to Cases under Chapter 7 of the
Bankruptcy Code [Docket No. 335], and the United States Trustee appointed Alfred T.
Giuliano as the interim Trustee [Docket No. 336].

The Debtors’ Debt Structure

7. According to the Goodwin Affidavit, the Debtors’ primary liabilities consist of
(a) a revolving credit facility, (b) junior secured debtor-in-possession financing facility, (c)
senior secured notes, (d) junior secured notes, (e) pay-in-kind notes, and (f) unsecured trade
debt. These liabilities are described in more detail below.

A. The Revolvirrg Credit Agreement

 

8. On March 30, 2006, the Selling Debtor entered into a 815 million revolving

credit agreement (the “Revolving Credit Agreement,” and together with the documents,

 

agreements and instruments executed or delivered from time to time in connection therewith,

the “Revolving Credit Documents”)3 with Deutsche Bank Trust Company Americas

 

(“DBTCA”), as agent (in such capacity, the “Revolving Credit Agent”), and various lenders

thereto (the “Senior Revolvig Lenders”), to fund its general corporate and working capital

 

needs.

9. As of the Petition Date, the Debtors were indebted to the Senior Revolving
Lenders in the principal amount of not less than fifteen million dollars (315,000,000), plus
accrued and unpaid interest thereon and fees, costs and expenses (including fees and expenses

of the counsel, consultants and advisors for the Revolving Credit Agent and Senior Revolving

 

3 The Revolving Credit Agreement has been guaranteed by HRP Myrtle Beach Holdings, LLC
and HRP Myrtle Beach Capital Corp.

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Lenders), and all other amounts payable (collectively, the “RevolviM Credit Obligations”),
under and pursuant to the Revolving Credit Agreement. The Senior Revolving Lenders have
also alleged that the Debtors are indebted on account of, and as used herein the Revolving
Credit Obligations also include, certain specified hedging obligations (the “Hedging
Obligations”) associated with the termination of an interest rate hedging agreement to which
the Selling Debtor was a party, totaling approximately $3,490,000 as of the Petition Date, plus
all accrued and unpaid interest, fees and other amounts related thereto. As used herein,
“Revolving Lenders” shall include both the lenders from time to time under the Revolving
Credit Agreement and the counterparties to the Hedging Obligations.

10. The Senior Revolving Lenders have also alleged that, pursuant to the Revolving
Credit Documents, the Revolving Credit Agent, for the benefit of the Revolving Lenders,
holds, with certain exceptions to the extent set forth in the Revolving Credit Documents,
perfected, valid, enforceable, and non-avoidable first-priority liens on and security interests in
(the “Revolving Credit Pre-Petition Liens”) all of the Debtors’ now existing or hereinafter
arising properties and assets of any kind or nature, including, without limitation, cash, accounts
receivable, chattel paper, contracts, equipment, general intangibles, instruments, intellectual
property, inventory, investment property, letter of credit rights, commercial tort claims, real
property, pledged capital stock and other pledged interests of subsidiaries and other tangible
and intangible personal property, together with all proceeds, products, offspring, rents, and
profits thereof, whether arising prior to, on, or after the Petition Date (the “Revolving Credit
Pre-Petition Collateral”).

B_. The Junior Secured DIP

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ll. On September 29, 2008, the Court entered an Interim Order (A) Authorizing
The Debtors To Obtain Super-Priority Senior Secured Postpetition Financing, (B) Authorizing
The Debtors To Use Cash Collateral of Existing Secured Lenders, On A Limited Basis, (C)
Providing Related Adequate Protection, and (D) Prescribing The Form and Manner of Notice
And Setting The Time For The Final Hearing [Docket No. 37], and on October 22, 2008, the
Court entered a Final Order (A) Authorizing the Debtors to obtain Super-Priority Senior
Secured Post-Petition Financing, (B) Authorizing the Debtors to Use Cash Collateral of
Existing Secured Creditors, on a Limited Basis, and (C) Providing Related Adequate
Protection (the “Final Junior DIP Order”) [Docket No. 113].

12. Pursuant to the Final Junior DIP Order, certain holders (the “Junior Secured DIP
M”) of the Debtors’ Senior Bonds (as defined below) provided debtor-in-possession

financing (“Junior Secured DIP Financing”) to the Debtors, which was junior in priority, and

 

subject, to the Revolving Credit Obligations and all related adequate protection liens and
claims in favor of the Revolving Credit Lenders.
g Senior Secured Notes

13. According to the Goodwin Affidavit, on March 30, 2006, the Selling Debtor and
HRP Myrtle Beach Capital Corp. (collectively, the “I_s_su_er§”) issued Floating Rate Senior
Secured Notes due 2012 (the “Senior Bonds”) in the aggregate principal amount of
3155,000,000. DBTCA is the trustee of the Senior Bonds. lnterest on the Senior Bonds
accrues at a variable annual rate of the six-month LIBOR rate, plus 4.75% and is reset semi-
annually. The interest rate on the Senior Bonds as of June 30, 2008 was 7.38%. lnterest
payments are due semi-annually on April l and October 1 of each year. The Senior Bonds

were guaranteed by HRP Myrtle Beach Holdings, LLC, We Got Your Back Security Co., LLC,

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and the existing and future wholly-owned domestic subsidiaries of the Issuers (collectively, the

“Bond Guarantors”). The Senior Bonds are secured by a first priority lien on all amounts on

 

deposit in the Senior Bonds interest reserve account (the “Senior lnterest Reserve Account”)4
and a second priority lien on substantially all of the lssuers’ existing and future assets,
including the land and improvements of the Park and equity interests in the Issuers’
subsidiaries As of the Petition Date, the Issuers were current on their interest payments and
the total amount due under the Senior Bonds was 3155,000,000.
g Swap Agreement
14. According to the Goodwin Affidavit, in March 2006, HRP Myrtle Beach
Operatings, LLC entered into an lnterest Rate Swap Agreement (the “Mp”) in order to
manage risk associated with the variable interest rate associated with the Senior Bonds. The
Swap fixed the interest rate on the Senior Bonds at a maximum of 10.5% for a three-year
period. As of June 30, 2008, the Swap was recorded as a liability of $3,613,701.
§ Junior Secured Bonds
15. On March 30, 2006, the lssuers issued 12.5% Junior Secured Notes due 2013
(the “Junior Bonds”) in the aggregate amount of 8100,000,000. lnterest on the Junior Bonds
accrues at a fixed annual rate of 12.5% and payments are due semi-annually on April l and
October l of each year. The Junior Bonds have been guaranteed by the Bond Guarantors. The
Junior Bonds are secured by a first priority lien on all amounts on deposit in the interest reserve
account established for the Junior Bonds (the “Junior lnterest Reserve Account”) and a third

priority lien on substantially all of the Issuers’ existing and future assets, including the land and

 

4 The APA does not transfer any interest, or otherwise affect the Senior lnterest Reserve Account

or the Jum'or lnterest Reserve Account (as defined herein).

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improvements of the Park, and equity interests in the Issuers’ subsidiaries As of the Petition
Date, the lssuers were current on their interest payments and the total amount due under the
Junior Bonds was 8100,000,000.
1 PIK Notes
16. According to the Goodwin Affidavit, on March 30, 2006, HRP Myrtle Beach
Holdings, LLC, HRP Myrtle Beach Holdings Capital Corp., and HRP PIK Corp. issued 50,000
units, each consisting of (i) $l,000 aggregate principal amount of 14.5% Senior Pay-in-Kind
Notes due 2014 co-issued by Holdings and Holdings Capital (the “PIK Bond lssuers”); and (ii)
one share of Class B Common Stock of HRP PIK Corp. with a par value of 80.01 per share.
As of the Petition Date, Holdings and Holdings Capital were current on their interest payments
and the total amount due, including of all PIK Bonds issued by the PIK Bond Issuers, was
$62,247,068.
§ Trade Debt
17. According to the Goodwin Affidavit, as of the Petition Date, the Debtors
estimated that they owed approximately $7.1 million for goods and services provided to them
on an unsecured basis.

Notice of Abandonment

 

18. On February 3, 2009, the Trustee filed a notice of abandonment of property of
the estate [Docket No. 394] (the “Notice of Abandonment”) by and through which the Trustee
gave notice pursuant to Sections 105(a) and 554 of the Bankruptcy Code of abandonment of
the Park, including but not limited to all related real property, all related equipment, all related
inventory, and all related tangible personal property located at the Park and at the warehouse

located at 568 George Bishop Parkway, Myrtle Beach, South Carolina from the Debtors’

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bankruptcy estates as being burdensome to the estates and of inconsequential value and of no
benefit to the estates given the lack of any value or equity in the Debtors’ estates in excess of
the liens and security interests held by creditors against the Park and related Assets The
Notice of Abandonment further provided that, if no objection or request for hearing is filed with
the United States Bankruptcy Court for the District of Delaware and served on the Trustee’s
counsel within fifteen (15) days after the filing of the Notice of Abandonment, the Park and
related Assets would be deemed abandoned by the Trustee from Debtors’ bankruptcy estates

19. In the event that the proposed sale of the Purchased Assets as contemplated by
this Sale Motion is approved, the Trustee intends to withdraw the Notice of Abandonment prior
to February 18, 2009.

Purchased Assets to Be Sold

 

20. By and through the APA, the Trustee has agreed, subject to approval by the
Bankruptcy Court, to sell all of the Selling Debtor’s right, title and interest in, to and under, the
following assets, properties and rights of the Selling Debtor located at or related to the Park
(the “Purchased Assets”), to the Purchaser free and clear of all claims, liens, and encumbrances
(other than encumbrances included in the Assumed Liabilities and Permitted Encumbrances):

a) all real property owned by the Bankruptcy Estate, as set forth by
legal description on Schedule l.l(a) (“Owned Real Propertv”) of
the APA;

b) to the extent assignable or transferable in accordance with the
terms and conditions of the applicable Permits or applicable
Law, all Permits and all pending applications therefor;

c) all Documents used in respect of the Purchased Assets or
Assumed Liabilities;

d) all goodwill and other intangible assets generated or associated
with the Purchased Assets;

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e) all Inventory and Equipment (including spare parts with respect
thereto) (as set forth in Schedule l.l(e)) of the APA, provided
icg Inventory branded with the Hard Rock Park, Hard Rock or
other similar logos licensed from a third party shall not be
transferred to the extent transfer of such Inventory is prohibited
by the terms of the applicable license agreement and provided
further that any Equipment branded with the Hard Rock Park,
Hard Rock or other similar logos licensed from a third party shall
be sold to the Purchaser subject to compliance with the
applicable license agreement, removal of licensed materials or
subsequent agreement with the applicable licensor);

f) all rights, claims, credits, causes of action or rights of set-off
against third parties relating to the Purchased Assets, including
rights under vendor’s, contractor's and manufacturer’s
warranties, indemnities and guaranties (but excluding (i)
avoidance claims and causes of action under the Bankruptcy
Code or similar state Law and (ii) claims and causes of action
against directors, officers and employees of the Company other
than any such claims or causes of action that arise out of any
Contract that is a Purchased Asset);

g) any counterclaims, setoffs or defenses that the Company may
have with respect to any Assumed Liabilities;

h) to the extent assignable or transferable in accordance with the
terms and conditions of the applicable insurance policies or
applicable Law, all of the Company’s insurance policies and
rights and benefits related to the Purchased Assets or Assumed
Liabilities provided however that any coverage, rights or benefits
under the liability policies with respect to claims arising out of or
relating to any occurrence or event that happened prior to
Closing shall continue to inure to the benefit of the Bankruptcy
Estate notwithstanding the transfer under this provision; and

i) all Contracts assigned to the Purchaser pursuant to Section 6.3 of
the APA,

Marketing of the Purchased Assets
2l. Prior to the Conversion Date, the Debtors and their professionals including
Raymond J ames & Associates (“Ra)@ond James”), marketed the Purchased Assets, however

they were unable to find any parties willing to bid more than $20 million for the Purchased

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Assets Further, since the Conversion Date, Raymond James has continued to market the
Purchased Assets to prospective purchasers

22. Specifically, beginning in November 2008, Raymond James engaged in an
extensive marketing process with regard to the sale of the Debtors’ assets pursuant to section
363 of the Bankruptcy Code as follows: approximately two hundred and six (206) interested
parties were contacted and confidentiality agreements were forwarded to one hundred and four
(104) interested parties of which forty-six (46) interested parties returned executed
confidentiality agreements According to Raymond James, all of the interested parties were
provided the opportunity to execute confidentiality agreements, and those interested parties
that executed a confidentiality agreement were provided substantial information concerning,
and access to, the Debtors, including, but not limited to, presentations and discussions with the
Debtors’ management; access to an extensive online data room containing detailed financial
information, operating statistics, material agreements and other operational and financial
information of the Debtors Additionally, nine (9) of the interested parties conducted one or
more on-site tours of the Park. Unfortunately, during the Chapter ll, the Debtors received no
offers for the Purchased Assets which constituted qualified offers under the procedures
established in the Chapter ll Sale Motion Order.

23. Since the Conversion Date, Raymond J ames has worked to continue to market
the Purchased Assets to interested parties as follows: forty-five (45) interested parties were
contacted, including twenty-five (25) additional interested parties that were not previously
contacted in the Chapter ll sale process Of the forty-five (45) interested parties that were
contacted, thirty-nine (39) executed confidentiality agreements and were provided Substantial

information concerning the Debtors’ assets Additionally, thirteen (13) of the interested parties

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conducted on-site tours of the Park since the conversion of the Chapter 11 cases to Chapter 7.
To date, Raymond J ames has received formal offers from 11 of the interested parties for the
Assets The Purchaser’s offer of $25,000,000 is the highest and best offer received by the
Trustee for the Purchased Assets

Time is of the Essence

24. The Purchaser has informed the Trustee that time is of the essence for the
consummation of the sale and has required that the sale of the Purchased Assets close no later
than February 20, 2009. The Senior Revolving Lenders have also required that the sale close
as soon as possible.

25. The Memorial Day holiday weekend, the first long weekend of the summer
vacation season, is May 23 to 25, 2009. Many people take advantage of the three-day
Memorial Day weekend to take a short vacation to a nearby destination As a result, Memorial
Day usually is a busy weekend for theme parks Moreover, the publicity and "buzz"
generated is important to marketing a theme park during the rest of the summer. The Purchaser
has advised the Trustee that if the Park is not open Memorial Day weekend, the Purchaser will
suffer a significant revenue loss which impacts the Purchaser’s valuation model and willingness
to offer the Purchase Price.

26. The Purchaser expects that readying the Park for reopening will take at least
ninety (90) days There are numerous tasks that must be accomplished before the Park will be
ready to reopen. Among other things, South Carolina safety regulations mandate annual
maintenance of the Park's rides These regulations include a requirement that the rides be
disassembled, inspected and then reassembled. Selected rides must be re-vamped and new

capital expenditures made. The rides and other equipment will need to be tested. Furthermore,

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the Park's landscape and hardscape must be refurbished as necessary and a physical inventory
of the goods and equipment made.

27. ln addition, a marketing and public relations plan must be designed and
implemented Merchandising must also be arranged. New attractions and shows must be
designed and produced. Employees must be hired and trained. The food and beverage service
must be planned and prepared. Systems must be planned and integrated

28. Finally, the Purchaser anticipates conducting a "soft opening" of the Park prior
to the Memorial Day weekend, A soft opening is a private opening where friends and family
and selected representative groups are invited to come experience the Park. This soft opening
will permit management to test the park experience and to refine the operating strategy.

29. In order to open the Park prior to the summer season, the Purchaser has required
that the sale close no later than February 20, 2009, Section 2.1 of the APA provides that, in the
event that the sale does not close by February 20, 2009, the Purchase Price shall be reduced by
the sum of One Million Dollars (81,000,000), and shall be further reduced in the amount of
Fifty Thousand Dollars for each day after February 20, 2009 that the Closing does not occur.

30. ln an effort to have the sale consummated prior to February 20, 2009,
contemporaneously with the filing of this motion, the Trustee has filed a motion to shorten
notice to have this Sale Motion considered at a hearing on February 17, 2009 at 10:00 a.m.
(the “Sale Approval Hearing”). Subject to approval of this Sale Motion, at the Sale Approval
Hearing, the closing of the purchase and sale of the Purchased Assets shall take place at the
offices of Cozen O’Connor, 1900 Market Street, Philadelphia, PA Philadelphia, PA 19103-

3508 (or at such other place as the parties may designate in writing) no later than February 20,

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2009, unless another time or date, or both, are agreed to in writing by the Trustee, the
Purchaser, and the Senior Revolving Lenders
Sale Approval Hearing

31. At the Sale Approval Hearing, the Trustee will seek Court approval of the sale
to the Purchaser or another party submitting the highest and best bid, free and clear of all liens,
claims and encumbrances pursuant to ll U.S.C. § 363, and except as otherwise specifically
provided in the APA or the order approving the sale, all liens, claims and encumbrances to
attach to the Sale Proceeds with the same validity and in the same order of priority as they
attached to the Purchased Assets prior to the sale, including the assumption by the Debtors and
assignment to the Prevailing Bidder(s) of the assumed Contracts and Leases pursuant to section
365 of the Bankruptcy Code. The Trustee will submit and present additional evidence, as
necessary, at the Sale Approval Hearing demonstrating that the sale to the Purchaser as
provided in the APA is fair, reasonable and in the best interest of the Selling Debtor’s estate
and all interested parties

Assumption and Assignment of Certain Executory Contracts and Unexpi_red
Leases

32. On January 16, 2009 and January 30, 2009, the Trustee filed motions to reject
substantially all of the Selling Debtor’s executory contracts and unexpired leases, including all
personal property leases, real property leases intellectual property agreements (to the extent
such are executory contracts), licenses and trademark agreements (the “Motions to Re]`ect”)
[Docket Nos. 364 and 389]. ln the event that the Trustee does not withdraw the Motions to
Reject as to any particular executory contracts and unexpired leases, such executory contracts

and unexpired leases shall be rejected effective January 6, 2009.

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33. Pursuant to Section 6.3 of the APA, the Purchaser shall have until February 13,
2009, to designate the executory contracts or unexpired leases that the Purchaser desires
deleted from the list of executory contracts to be rejected, in which case the Trustee shall
withdraw the motion with respect to executory contracts and unexpired leases so designated by
Purchaser. On or before February 27, 2009, the Purchaser shall advise the Trustee which, if
any, of the designated executory contracts and unexpired leases the Purchaser desires to have
assigned to it. The Trustee shall promptly file a motion seeking to assume and assign the
designated executory contracts and unexpired leases to Purchaser and the Trustee shall use its
commercially reasonable best efforts to have such motion heard by the Bankruptcy Court prior
to March 7, 2009, and to file a motion requesting that any assignment to the Purchaser of any
insurance policies is effective as of the Closing Date. Further, the Purchaser may delete any
executory contract or unexpired lease from the list of contracts and leases to be assigned to the
Purchaser at any time prior to the assignment of such contract or lease to the Purchaser.

34. The Purchaser shall be responsible for any payment necessary to cure any
default on any contract or lease assigned to the Purchaser, and the Trustee agrees that the
payment of such cure amounts is sufficient consideration for the assignment The Trustee
agrees that Purchaser may contact any party to any of the Selling Debtor’s executory contracts
or unexpired leases to discuss with such party the assumption and assignment of such contract
or lease to the Purchaser. If the Purchaser designates a contract or lease for deletion from the
list of executory contracts and unexpired leases to be rejected and subsequently elects not to
have a designated contract(s) or lease(s) assigned to it, the Purchaser, if it is the successful
purchaser of the Purchased Assets, shall pay to the Trustee the amount of any administrative

expense incurred by the Bankruptcy Estate on account of such contract or lease during the

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period commencing with the Conversion Date through the date of rejection of such contract or
lease and in no event shall the Senior Revolving Lenders or their agents be responsible for such
amounts
Distribution of Proceeds of Sale

35. Upon consummation of the sale, the Trustee shall make distribution of the
proceeds from the sale of the Purchased Assets, less normal and customary costs of closing,
(including real estates taxes) and a net of an amount equal to (A) the amount of $l,273,250 for
the benefit and use of the Bankruptcy Estate of the Selling Debtor, (B) the fees and expenses of
Raymond J ames with respect to its role in the sale process, and (C) administrative expenses in
an amount and subject to terms and documentation to be separately agreed between the Trustee
and the Senior Revolving Lenders, to pay (and shall pay directly to) the Senior Revolving
Lenders until their claims are paid in full, including, without limitation, claims for any and all
principal, unpaid hedging obligations interest, attomeys’ fees and expenses and advances
made during the Chapter 7 Case, in each case, to the fullest extent provided under the Pre-
Petition Loan Documents (as defined in the APA). ln the event that any proceeds from the sale
of the Purchased Assets remain after the claims of the Senior Revolving Lenders have been
paid in full, such proceeds shall be delivered to the Trustee for distribution among the creditors
of the Selling Debtor’s bankruptcy estate in accordance with the order of priority applicable to
their claims

36. The aforesaid distribution of proceeds from the sale of Purchased Assets (A) in
the amount of 31,273,250 for the benefit and use of the Bankruptcy Estate of the Selling
Debtor, (B) the fees and expenses of Raymond James with respect to its role in the sale

process, and (C) administrative expenses in an amount and subject to terms and documentation

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to be separately agreed between the Trustee and the Senior Revolving Lenders, are being made
by the Senior Revolving Lenders as advances for the payment of expenses in accordance with
the Pre-Petition Loan Documents (as defined in the APA). The expenses funded to date by the
Senior Revolving Lenders since the Conversion Date which would constitute administrative
expenses are in the amount of 8564,000, including but not limited to items such as insurance,
electric, real estate taxes, water and sewer charges, and payroll for security, maintenance and
management personnel There are additional expenses of an administrative nature which are
anticipated to be incurred in the approximate amount of $300,000 prior to the Closing.
RELIEF REOUESTED

37. The Trustee requests entry of an order, a copy of which is attached hereto as
Exhibit “B” (i) approving the sale of the Purchased Assets to the Purchaser pursuant to sections
105, 363, and 365 of the Bankruptcy Code, in accordance with the terms and conditions5 of the
APA, (ii) authorizing the Trustee to enter into the APA and take all actions necessary to
consummate the sale of the Purchased Assets, and (iii) establishing a procedure for the
assumption and assignment of certain executory contracts and unexpired leases designated by
the Purchaser.

BASIS FOR RELIEF REQUESTED

A. The Sale of the Purchased Assets is Authorized by Section 363 and is a
Sound Exercise of the Trustee’s Business Judgment

38. Section 363 of the Bankruptcy Code provides that a trustee, “after notice and a
hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b). Although section 363 of the Bankruptcy Code does not specify a

 

5 Attached as Exhibit “C” hereto are the highlighted provisions of the APA as required by Local
Rule 6004-1.

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standard for determining when it is appropriate for a court to authorize the use, sale or lease of
property of the estate, a sale of a debtor’s assets should be authorized if a sound business
reason exists for doing so. See, e.g, Mevers v. Martin (In re Martin), 91 F.3d 289, 295 (3d Cir.
1996), citing Fulton State Bank v. Schipper (ln re Schippeg, 933 F.2d 513, 515 (7th Cir. 1990;
In re Abbotts Dairies of Pennsvlvania, lnc., 788 P.2d 143 (2d Cir. 1986); In re Titusville
Country Club, 128 BR. 396 (W.D. Pa. 1991); In re Delaware & Hudson Railwav Co., 124 BR.
169, 176 D. Del. 1991); §§ also Official Committee of Unsecured Creditors v. The LTV Corp.

(In re ChateaugaLCog)_.), 973 P.2d 141, 143 (2d Cir, 1992); Committee of Equitv Sec. Holders

 

v. Lionel Corp. (ln re Lionel Cgp.), 722 F.2d 1063, 1070 (2d Cir, 1983); Committee of
Asbestos-Related Litigants and/or Creditors v. Johns-Manville Corp,lln re Johns-Manville
_C_o;g), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). The Delaware & Hudson Railwav court
rejected the pre-Code “emergency” or “compelling circumstances” standard, finding the
“sound business purpose” standard applicable and, discussing the requirements of that test
under McClung and _Iiio_nel, observed that:

[a] non-exhaustive list of factors to be considered in
determining if there is a sound business purpose for the sale
include: the proportionate value of the asset to the estate as a
whole; the amount of elapsed time since the filing; the likelihood
that a plan of reorganization will be proposed and confirmed in
the near future; the effect of the proposed disposition of the
future plan of reorganization; the amount of proceeds to be
obtained from the sale versus appraised values of the property;
and whether the asset is decreasing or increasing in value. 124
B.R. at 176.

39. The business judgment rule shields a trustee from judicial second-guessing
Johns-Manville Corp., 60 B.R. at 615-16 (“a presumption of reasonableness attaches to a
debtor’s management decisions”). Once a debtor articulates a valid business justification,

“[t]he business judgment rule ‘is a presumption that in making a business decision the directors

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of a corporation acted on an informed basis, in good faith and in the honest belief that the
action was in the best interests of the company.” Official Comm. of Subordinated Bondholders
v. lntegrated Resources;lnc$ln re Integrated Resources, Inc.), 147 B.R. 650, 656 (S.D.N.Y.
1992) (quoting Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)). Thus, if a trustee’s
actions satisfy the business judgment rule, then the transaction in question should be approved
under section 363(b)(1). Indeed, when applying the “business judgment” standard, courts
show great deference to a trustee’s business decisions _S_Y Pitt v. First Wellingl)n Canvon
Assocs. (ln re First Wellington Caan Assocs.), 1989 WL 106838, at *3 (N.D. lll. 1989)
(“Under this test, the debtor’s business judgment . . . must be accorded deference unless shown
that the bankrupt’s decision was taken in bad faith or in gross abuse of the bankrupt’s retained
discretion.”).

40. As set forth above, the Trustee has determined that the best method of
preserving the value of the Selling Debtor’s assets is through a sale, The fairness and
reasonableness of the consideration to be paid by the Purchaser has been demonstrated after a
lengthy “market exposure” of the Purchased Assets, and an open and fair process by and
through which the Debtors and the Trustee have sought to establish the highest and best value
of the Purchased Assets After significant efforts, the Trustee has determined in his business
judgment, and subject to higher and better offers, that the offer of the Purchaser as set forth in
the APA realizes the highest value for the Purchased Assets.

B. The Sale of the Purchased Assets Free and Clear of Liens and Other
Interests is Authorized by Section 363(1`)

41. The Trustee further submits that it is appropriate to sell the Purchased Assets

free and clear of liens pursuant to section 363(1") of the Bankruptcy Code. Section 363(f) of the

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Bankruptcy Code authorizes a trustee to sell assets free and clear of liens, claims, interests and
encumbrances if:

a) applicable nonbankruptcy law permits sale of such property free and clear
of such interests;

b) such entity consents;

c) such interest is a lien and the price at which such property is to be sold is
greater than the value of all liens on such property;

d) such interest is in bona fide dispute; or

e) such entity could be compelled, in a legal or equitable proceeding, to
accept a money satisfaction of such interest. 11 U.S.C. §363(f).

42. This provision is supplemented by section 105(a) of the Bankruptcy Code,
which provides that “[t]he Court may issue any order, process or judgment that is necessary or
appropriate to carry out the provisions of [the Bankruptcy Code].” ll U.S.C. § 105(a).

43. Because section 363(f) of the Bankruptcy Code is drafted in the disjunctive,
satisfaction of any one of its five requirements will suffice to permit the sale of the Assets “free
and clear” of liens and interests In re Dundee Equitv Corp., 1992 Bankr. LEXIS 436, at *12
(Bankr. S.D.N.Y. March 6, 1992) (“[s]ection 363(f) is in the disjunctive, such that the sale free
of the interest concerned may occur if any one of the conditions of § 363(f) have been met.”);
In re Bygaph, Inc., 56 B.R. 596, 606 n.8 (Bankr. S.D.N.Y. 1986) (same); Michigan
Employment Sec. Comm’n v. Wolverine Radio Co. (mre Wolverine Radio Co.), 930 F.2d
1132, 1147 n.24 (6th Cir. 1991) (stating that Bankruptcy Code section 363(D is written in the
disjunctive; holding that the court may approve the sale “free and clear” provided at least one
of the subsections of Bankruptcy Code section 363(f) is met).

44. The Trustee believes that one or more of the tests of section 363(1) are satisfied
with respect to the transfer of the Selling Debtor’s assets pursuant to the APA, ln particular,

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the Trustee believes that at least section 363(1)(2) will be met in connection with the
transactions proposed under the APA because each of the parties holding liens on the Selling
Debtor’s Assets will consent or, absent any objection to this motion, will be deemed to have
consented to the sale, Any lienholder also will be adequately protected by having their liens, if
any, in each instance against the Selling Debtor or its estate, except as otherwise specifically
provided in the APA or the order approving the sale attach to the Sale Proceeds ultimately
attributable to the Purchased Assets in which such creditor alleges an interest, in the same
order of priority, with the same validity, force and effect that such creditor had prior to the sale,
subject to any claims and defenses the Selling Debtor and its estate may possess with respect
thereto. Accordingly, section 363(f) authorizes the transfer and conveyance of the Selling
Debtor’s assets free and clear any such claims, interests, liabilities or liens

45. Although section 363(1) of the Bankruptcy Code provides for the sale of assets
“free and clear of any interests,” the term “any interest” is not defined anywhere in the
Bankruptcy Code. F@;er Adam SecuritLv. DeMatteis/MacGregor JV, 209 F.3d 252, 257 (3d

Cir. 2000). ln the case of In re Trans World AirlineLlnc., 322 F.3d 283, 288-89 (3d Cir.

 

2003), the Third Circuit specifically addressed the scope of the term “any interest.” The Third
Circuit observed that while some courts have “narrowly interpreted that phrase to mean only in
rem interests in property,” the trend in modern cases is towards “a more expansive reading of
‘interests in properly’ which ‘encompasses other obligations that may flow from ownership of
the property.”’ I_<L at 289 (citing 3 Collier on Bankruptcy 363.06[1]). As determined by the

Fourth Circuit in In re Leckie Smokeless Coal Co., 99 F.3d 573, 581-582 (4th Cir. 1996), a

 

case cited with approval and extensively by the Third Circuit in Folger, supra, the scope of

section 363(1) is not limited to in rem interests Thus, the Third Circuit in Folger stated that

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L§M held that the debtors “could sell their assets under § 363(1) free and clear of successor
liability that otherwise would have arisen under federal statute.” folger, 209 F.3d at 258.

46. Courts have consistently held that a buyer of a debtor’s assets pursuant to a
section 363 sale takes such assets free from successor liability resulting from pre-existing
claims §e_e The Ninth Avenue Remedial Group v. Allis-Chalmers CLp., 195 B.R. 716, 732
(Bankr. N.D. lnd. 1996) (stating that a bankruptcy court has the power to sell assets free and
clear of any interest that could be brought against the bankruptcy estate during the bankruptcy);
MacArthur Company v. Johns-Manville Corp. (In re Johns-Manville Corp_.), 837 F.2d 89, 93-
94 (2d Cir. 1988) (channeling of claims to proceeds consistent with intent of sale free and clear
under section 363(1) of the Bankruptcy Code); In re New England Fish Co., 19 B.R. 323, 329
(Bankr. W.D. Wash. 1982) (transfer of property in free and clear sale included free and clear of
Title VII employment discrimination and civil rights claims of debtor’s employees); ln_@
Hoffrnan, 53 B.R. 874, 876 (Bankr. D.R.l. 1985) (transfer of liquor license free and clear of
any interest permissible even though the estate had unpaid taxes); American Living Systems v.

Bona@l (ln re All Am. Of Ashbum;lnc), 56 B.R. 186, 190 (Bankr. N.D. Ga. 1986) (product

 

liability claims precluded on successor doctrine in a sale of assets free and clear); WBO
Partnership v. \Lirginia Dept. of Medical Assistance Servs. (In re WBO Partnership), 189 B.R.
97, 104-05 (Bankr. E.D. Va. 1995) (Commonwealth of Virginia’s right to recapture

depreciation is an “interest” as used in section 363(f)).6 The purpose of an order purporting to

 

6 Some courts, concluding that section 363(1) of the Bankruptcy Code does not empower them to

convey assets free and clear of claims, have nevertheless found that section 105(a) of the Bankruptcy
Code provides such authority. §e_e Volvo White Truck Corp. v. Chambersburg Beverage1 lnc. (ln re
White Motor Credit Corp.), 75 B.R. 944, 948 (Bankr. N.D. Ohio 1987) (stating that the absence of
specific authority to sell assets free and clear of claims poses no impediment to such a sale, as such
authority is implicit in the court’s equitable powers when necessary to carry out the provisions of title
11).

 

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authorize the transfer of assets free and clear of all “interests” would be frustrated if claimants
could thereafter use the transfer as a basis to assert claims against the purchaser arising from
the Selling Debtor’s pre-sale conduct. Under section 363(1) of the Bankruptcy Code, the
purchaser is entitled to know that the Selling Debtor’s assets are not infected with latent claims
that will be asserted against the purchaser after the proposed transaction is completed.
Accordingly, consistent with the above-cited case law, the order approving the sale should state
that the Purchaser (or highest and best bidder) is not liable as a successor under any theory of
successor liability, for claims that encumber or relate to the Selling Debtor’s assets

C. No Need to Establish Bidding Procedures or Conduct an Auction
Prior to the Sale Approval Hearing

47. The Trustee believes that the Selling Debtor’s estate will obtain the maximum
recovery for its creditors notwithstanding that the Trustee is not seeking approval of bidding
procedures or an auction process prior to the Sale Approval Hearing. The Debtors and the
Trustee already have taken significant steps to identify potential purchasers

48. As set forth in Section 7.7 of the APA, effective February 11, 2009, the Trustee,
the Senior Revolving Lenders and all officers, directors, employees, agents and representatives
(including any investment banker, financial advisor, attomey, accountant or other
representative) of the Trustee or the Senior Revolving Lenders cannot directly or indirectly (i)
solicit, initiate, encourage, facilitate (including by way of furnishing information) or take any
other action designed to facilitate any inquiries or proposals regarding any merger, share
exchange, consolidation, sale of assets, sale of shares of capital stock (including by way of a
tender offer) or similar transactions involving the Selling Debtor’s bankruptcy estate for any
of the Purchased Assets (ii) participate in any discussions or negotiations regarding an

alternative transaction for any of the Purchased Assets, or (iii) enter into any agreement

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regarding any alternative transaction for any of the Purchased Assets Such non-solicitation
provision provides that the Trustee at the hearing on this Motion may respond to inquiries from
Qualified Bidders (as defined in the APA) by providing information that is not confidential
information

49. As set forth above, the Debtors, the Trustee and their respective professionals
have already extensively marketed the Purchased Assets, and based upon the limited offers
received, the Trustee believes that the Purchaser’s offer is likely to be the highest and best offer
for the Purchased Assets In the event that another interested party submits a bid for the
Purchased Assets at the Sale Approval Hearing, the Trustee will conduct an auction among all
interested purchasers present at the Sale Approval Hearing to determine the highest and best
offer for the Purchased Assets.

D. Backup Credit Bid

50. While the Trustee fully expects the Purchaser to honor its contractual
obligations under the APA, the Trustee believes that the presence of a backup bid will further
incentivize the parties to promptly consummate the proposed transaction. Pursuant to Section
363(k) of the Bankruptcy Code, the Senior Revolving Lenders have the statutory right (but not
the obligation) to credit bid the full amount of the Revolving Credit Obligations and the
Hedging Obligations in exchange for the Purchased Assets, free and clear of all liens, claims
and encumbrances and with all the attendant rights, benefits and protections proposed to be
afforded to the Purchaser. Accordingly, the Trustee requests that it be authorized, if the APA
is validly terminated in accordance with its terms (or if a sale is delayed so that the Purchase
Price is reduced to below $22 million), to sell and convey the Purchased Assets to the Senior

Revolving Lenders (at their election) on a full credit bid basis The Trustee and the Senior

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Revolving Lenders have agreed that in the event of a consummation of a credit bid, the
administrative expense payments (including the payment of $1,273,250 for the benefit and use
of the Bankruptcy Estate) outlined above in the event of a cash sale to the Purchaser (other than
the payment to Raymond James, which will be addressed separately) will be made in the event
a credit bid transaction is consummated Accordingly, given the enhanced incentive to closing
the proposed cash sale transaction to the Purchaser, and the additional benefit to the estate in
the form of the outlined administrative expense payments, the Trustee believes that the
approval of the backup credit bid (to the extent the Senior Revolving Lenders elect their option
to proceed with the credit bid) in the circumstances outlined above is fair, reasonable and in the
best interests of the estates of the Debtors

E. Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases

51. Section 365(a) of the Bankruptcy Code provides a trustee “subj ect to the court’s
approval may assume or reject any executory contracts or unexpired leases of the debtor.” ll
U.S.C. § 365(a). Upon finding that the Trustee has exercised his sound business judgment in
determining to assume an executory contract or unexpired lease, courts will approve the
assumption under section 365(a) of the Bankruptcy Code. S_ee_ Nostas Assocs v. Costich (ln re
Klein Sleep Prods., lnc.), 78 F.3d 18, 25 (2d Cir. 1996); Orion Pictures Corp. v. Showtime

Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1099 (2d Cir. 1993).

 

52. Section 365(b) of the Bankruptcy Code requires that a trustee meet certain
additional requirements to assume a lease:

If there has been a default in an executory contract or unexpired
lease of the debtor, the trustee may not assume such contract or
lease unless, at the time of assumption of such contact or lease,
the trustee_

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(l) cures, or provides adequate assurance that the trustee will
promptly cure, such default;

(2) compensates, or provides adequate assurance that the
trustee will promptly compensate, a party other than the
debtor to such contract or lease, for any actual pecuniary
loss to such party resulting from such default; and

(3) provides adequate assurance of future performance under
such contract or lease.

11 U.S.C. § 365(b). This section does not apply to a default that is a breach of a provision
relating to:

(4) the insolvency or financial condition of the debtor at any
time before the closing of the case;

(5) the commencement of a case under this title;

(6) the appointment of or taking possession by a trustee in a
case under this title or a custodian before such
commencement; or

(7) the satisfaction of any penalty rate or provision relating to
a default arising from any failure by the debtor to perform
nonmonetary obligations under the executory contract or
unexpired lease.

11 U.S.C. § 365(b)(2).
53. Pursuant to section 365(f)(2) of the Bankruptcy Code, a trustee may assign an
executory contract or unexpired lease of nonresidential real property if:

(l) the trustee assumes such contract or lease in accordance
with the provisions of this section; and

(2) adequate assurance of future performance by the assignee
of such contract or lease is provided, whether or not there
has been a default in such contract or lease.

11 U.S,C. § 365(1)(2).
54. The meaning of “adequate assurance of future performance” depends on the

facts and circumstances of each case, but should be given “practical, pragmatic construction.”

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§§ Carlisle Homes, Inc. v. Arrari (In re Carlisle Homes, lnc.), 103 B.R. 524, 538 (Bankr.

D.N.J. 1989); s_e§ also ln re Natco lndu;s, lnc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985)

 

(adequate assurance of future performance does not mean absolute assurance that debtor will
thrive and pay rent); ln re Bon Ton Rest. & Pastrv Shop, lnc., 53 B.R. 789, 803 (Bankr. N.D.
lll. 1985) (“Although no single solution will satisfy every case, the required assurance will fall
considerably short of an absolute guarantee of perforrnance.”).

55. Among other things, adequate assurance may be given by demonstrating the
assignee’s financial health and experience in managing the type of enterprise or property
assigned ln re Bygaph, lnc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (adequate assurance
of future performance is present when prospective assignee of lease has financial resources and
expressed willingness to devote sufficient funding to business to give it strong likelihood of
succeeding; chief determinant of adequate assurance is whether rent will be paid).

56. The Trustee is seeking to establish a procedure by and through which the
Trustee may assume and assign any executory contracts and unexpired leases desigiated by
the Purchaser (or higher and better bidder). Specifically, the Trustee seeks approval of the
following schedule in connection with the assumption or assignment of any executory
contracts or unexpired leases :

(a) On or before February 27, 2009, the Purchaser shall advise the
Trustee which, if any, of the designated executory contracts and unexpired
leases the Purchaser desires to have assigned to it.

(b) No later than February 28, 2009, the Trustee shall promptly file a
motion seeking to assume and assign the designated executory contracts
and unexpired leases to Purchaser (the “Assumption and Assignment
Motion”), and the Trustee shall serve a copy of the Assumption and
Assignment Motion upon all nondebtor parties to all executory contracts
and unexpired leases designated by the Purchaser for assumption and

assignment to the Purchaser. The Trustee shall include with the service
of the Assumption and Assignment Motion, a copy of financial documents

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evidencing the Purchaser’s financial credibility, willingness and ability of
the Purchaser to perform under the designated executory contracts and
unexpired leases

(c) All nondebtor parties to any executory contracts and unexpired
leases designated to be assumed and assigned to the Purchaser by and
through the Assumption and Assignment Motion shall have until March 5,
2009 to file an objection to the proposed assumption and assignment of
any executory contracts and unexpired leases to which it is a party.

(d) The Bankruptcy Court shall consider the Assumption and
Assignment Motion at a hearing on or prior to March 6, 2009, and any
objections thereto. At the hearing to consider the Assumption and
Assignment Motion, the Trustee will present evidence to prove the
Purchaser’s financial credibility, willingness and ability to perform under
the designated executory contracts and unexpired leases and the Court
and other interested parties therefore will have the opportunity to evaluate
the Purchaser’s ability to provide adequate assurance of future
performance under the contracts or leases as required by section
365(b)(1)(C) of the Bankruptcy Code.

57. The Trustee respectfully submits that that these proposed procedures are in the
best interests of the Debtors their estates and their creditors while satisfying the due process
requirements for all parties to all nondebtor parties to executory contracts and unexpired leases

which may be designated for assumption and assignment by the Purchaser.

F. The Purchaser should be Afforded All Protections Under Section
363(m) as a Good Faith Purchaser

58. Section 363(m) of the Bankruptcy Code protects a good-faith purchaser’s
interest in property purchased from the debtor notwithstanding that the sale conducted under
section 363(b) is later reversed or modified on appeal. Specifically, section 363(m) states that:

The reversal or modification on appeal of an authorization under
[section 363(b)] does not affect the validity of a sale to an
entity that purchased such property in good faith, whether or
not such entity knew of the pendency of the appeal, unless such
authorization and such sale were stayed pending appeal.

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11 U.S.C. § 363(m). Section 363(m) “fosters the ‘policy of not only affording finality to the

judgment of the bankruptcy court, but particularly to give finality to those orders and

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judgments upon which third parties rely. ln re Chateaugay Corp., 1993 U.S. Dist. Lexis

6130, *9 (S.D.N.Y. 1993) (quoting In re Abbotts Dairies of Penn., lnc., 788 F.2d 143, 147 (3d

 

Cir. 1986)). S_ee_ also Allstate Ins. Co. v. Hughes 174 BR. 884, 888 (S.D.N.Y. 1994) (“Section

 

363(m) . . . provides that good faith transfers of property will not be affected by the reversal or
modification on appeal of an unstayed order, whether or not the transferee knew of the
pendency of the appeal”); In re Stein & Day, lnc., 113 B.R. 157, 162 (Bankr. S.D.N.Y. 1990)
(“pursuant to 11 U.S.C. § 363(m), good faith purchasers are protected from the reversal of a
sale on appeal unless there is a stay pending appeal”).

59. The selection of the Purchaser is the product of arm’s-length, good faith
negotiations in a lengthy purchasing process The Trustee intends to request at the Sale
Approval Hearing a finding that the Purchaser (or party submitting a higher and better bid) is a
good faith purchaser entitled to the protections of section 363(m) of the Bankruptcy Code.

G. Relief from the Ten Day Waiting Period Under Bankruptcy Rules
6004(h) and 6006(d) is Appropriate.

60. Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or
lease of property. . . is stayed until the expiration of 10 days after entry of the order, unless the
court orders otherwise.” Similarly, Bankruptcy Rule 6006(d) provides that an “order
authorizing the trustee to assign an executory contract or unexpired lease. . .is stayed until the
expiration of 10 days after the entry of the order, unless the court orders otherwise.” The
Trustee requests that the Order be effective immediately by providing that the ten (10) day

stays under Bankruptcy Rules 6004(h) and 6006(d) are waived

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61. The purpose of Bankruptcy Rules 6004(h) and 6006(d) is to provide Sufficient
time for an objecting party to appeal before an order can be implemented _Sie Advisory
Committee Notes to Fed. R. Bankr. P. 6004(h) and 6006(d). Although Bankruptcy Rules
6004(h) and 6006(d) and the Advisory Committee Notes are silent as to when a court should
“order otherwise” and eliminate or reduce the ten (10) day stay period, Collier suggests that the
ten (10) day stay period should be eliminated to allow a sale or other transaction to close
immediately “where there has been no objection to the procedure.” 10 Collier on Bankruptcy
15th Ed. Rev., 11 6064.09 (L. King, 15th rev. ed. 1988). Furthermore, Collier on Bankruptcy
provides that if an objection is filed and overruled, and the objecting party informs the court of
its intent to appeal, the stay may be reduced to the amount of time actually necessary to file
such appeal. Ld.

62. The Trustee hereby requests that the Court waive the ten-day stay period under
Bankruptcy Rules 6004(h) and 6006(d) or, in the alternative, if an objection to the sale is filed,
reduce the stay period to the minimum amount of time needed by the objecting party to file its
appeal

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63. Notice of this Motion has been provided to (a) the United States Trustee; (b)
counsel to the administrative agents for the Debtors’ prepetition secured lenders; (c) counsel to
the Debtors’ postpetition lenders; (d) counsel for the Junior DIP Lenders; (e) counsel for the
Senior Indenture Trustee; (f) counsel for the Junior Indenture Trustee; (g) counsel for the
Revolving Credit Agent and Senior Post-Petition Agent; (h) counsel to the Debtors; (i)
creditors holding the twenty (20) largest unsecured claims against the each of the Debtors as

included in the Debtors’ Chapter 11 Schedules or their legal counsel, if known; (j) unsecured

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creditors with a scheduled claim in excess of $25,000 as identified in the Selling Debtor’s
Schedules; (k) any known secured creditors as listed in Schedule D of the Debtors’ Chapter 11
Schedules; (l) parties as listed in Schedule G of the Debtors’ Chapter 11 Schedules; (m) all
persons or entities known or reasonably believed to have asserted a Lien in any of the
Purchased Assets; (n) the United States Department of Justice; (o) counsel to the Purchaser; (p)
all persons or entities known or reasonably believed to have expressed an interest in acquiring
the Purchased Assets; (q) the Attomey General for the State of South Carolina; (r) the United
States Environmental Protection Agency; (s) South Carolina Environmental Regulator; (t)
lntemal Revenue Service; (u) South Carolina Department of Revenue; (v) South Carolina
Dept. of Labor, Licensing and Regulation; (w) Horry County Treasurer’s Office; (x) Horry
County Property Assessor; (y) City of Myrtle Beach, Administration; and (z) any party who
has requested notice and service of papers pursuant to Bankruptcy Rule 2002. In light of the
nature of the relief herein, the Trustee respectfully submits that no further notice of this Motion
is required

WHEREFORE, the Trustee respectfully requests that the Court enter order, a copy of
which is attached hereto: (i) approving the sale of the Purchased Assets to the Purchaser,
subject to higher and better offers (ii) authorizing the Trustee to enter into the APA and take
all actions necessary to consummate the sale of the Purchased Assets (iii) establishing a
procedure for the assumption and assignment of certain executory contracts and unexpired
leases designated by the Purchaser, and (iv) granting such other and further relief as the Court

may deem proper.

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Dated: February 10, 2009
Wilmington, Delaware

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Jeffrey R. Waxman (DE No. 4159)
1201 North Market Street

Suite 1400

Wilmington, DE 19801
Telephone: (302) 295-2028
Facsimiie; (302) 295-2013

 

Counsel to the Chapter 7 Trustee,
Alfred T. Giuliano

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EXH|B|T A

 

 

 

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execution copy]

ASSET PURCHASE AGREEMENT
BY AND BETWEEN
FPI MB Entertainment LLC
as Purchaser,
and
ALFRED GIULIANO,
as Chapter 7 Trustee on behalf of the bankruptcy estate of

HRP Myrtle Beach Operations LLC

Dated as of February 9, 2009

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EXHIBITS

Form of Bill of Sale
Form of Sale Order
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SCHEDULES

Owned Real Property
Inventory and Equipment
Excluded Properties and Assets
Assumed Liabilities

Excluded Liabilities

Bank Account

Absence of Certain Developments
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ASSET PURCHASE AGREEMENT

ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of February _,
2009 (the “Execution Date”), is made and entered into by and between Alfred Giuliano, in his
capacity as the Chapter 7 Trustee appointed in the Chapter 7 Case (as defined below) (the
“Trustee”) on behalf of the bankruptcy estate of HRP Myrtle Beach Operations LLC, a
Delaware limited liability company (the “Company”), and FPI MB Entertairnnent LLC, a
Delaware limited liability company (the “Purchaser”). Certain capitalized terms used herein are
defined in Article IX.

RECITALS

WHEREAS, the Trustee is the Chapter 7 Trustee appointed on behalf of the bankruptcy
estate of the Company (the “Bankruptcy Estate”) in connection with certain pending bankruptcy
cases under chapter 7 of title 11 of the United States Code, 11 U.S.C. §101 et seq. (the
“Bankruptcy Code”), in each case, in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”), Case No. 08-12193 (as jointly administered, collectively,
the “Chapter 7 Case”); and

WHEREAS, in connection with the Chapter 7 Case and subject to the terms and
conditions contained herein and following the entry of the Sale Order (as defined herein) and
subject to the terms and conditions thereof, the Trustee, on behalf of the bankruptcy estate of the
Company, shall sell, transfer and assign to the Purchaser, and the Purchaser shall purchase and
acquire from the Trustee, pursuant to Sections 105, 363 and 365 of the Bankruptcy Code, the
Purchased Assets (as defined herein), and assume from the Trustee the Assumed Liabilities (as
defined herein), all as more specifically provided herein and in the Sale Order.

NOW, THEREFORE, in consideration of the foregoing and the mutual representations
warranties covenants and agreements set forth herein, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged and intending to be
legally bound hereby, the Purchaser and the Trustee hereby agree as follows:

ARTICLE I.

PURCHASE AND SALE OF ASSETS; ASSUMPTION OF LIABlLITIES

1.1 Purchase and Sale of Assets Pursuant to Sections 105, 363 and 365 of the
Bankruptcy Code and on the terms and subject to the conditions set forth in this Agreement and
the Sale Order, the Purchaser shall purchase, acquire and accept from the Trustee, and the
Trustee shall sell, transfer, assign, convey and deliver, or cause to be sold, transferred assigned,
conveyed and delivered, to the Purchaser, on the Closing Date, all of the Bankruptcy Estate’s
right, title and interest in, to and under, free and clear of all Encumbrances (other than
Encumbrances included in the Assumed Liabilities and Permitted Encumbrances), all of the
following assets properties and rights of the Bankruptcy Estate located at or related to the Park,
excluding the Excluded Assets (collectively, the “Purchased Assets”):

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(a) all real property owned by the Bankruptcy Estate, as set forth by legal
description on Schedule 1.1(a) (“Owned Real Propertv”);

 

(b) to the extent assignable or transferable in accordance with the terms and
conditions of the applicable Permits or applicable Law, all Permits and all pending applications
therefor;

(c) all Documents used in respect of the Purchased Assets or Assumed
Liabilities;

(d) all goodwill and other intangible assets generated or associated with the
Purchased Assets;

(e) all Inventory and Equipment (including spare parts with respect thereto)
(as set forth in Schedule 1.l(e)), provided that Inventory branded with the Hard Rock Park,
Hard Rock or other similar logos licensed from a third party shall not be transferred to the
extent transfer of such Inventory is prohibited by the terms of the applicable license agreement
and provided further that any Equipment branded with the Hard Rock Park, Hard Rock or other
similar logos licensed from a third party shall be sold to the Purchaser subject to compliance
with the applicable license agreement, removal of licensed materials or subsequent agreement
with the applicable licensor);

(f) all rights claims credits causes of action or rights of set-off against third
parties relating to the Purchased Assets including rights under vendor’s, contractor's and
manufacturer’s warranties indemnities and guaranties (but excluding (i) avoidance claims and
causes of action under the Bankruptcy Code or similar state Law and (ii) claims and causes of
action against directors officers and employees of the Company other than any such claims or
causes of action that arise out of any Contract that is a Purchased Asset);

(g) any counterclaims setoffs or defenses that the Company may have with
respect to any Assumed Liabilities;

(h) to the extent assignable or transferable in accordance with the terms and
conditions of the applicable insurance policies or applicable Law, all of the Company’s
insurance policies and rights and benefits related to the Purchased Assets or Assumed
Liabilities provided however that any coverage, rights or benefits under the liability policies
with respect to claims arising out of or relating to any occurrence or event that happened prior
to Closing shall continue to inure to the benefit of the Bankruptcy Estate notwithstanding the
transfer under this provision.

(i) all Contracts assigned to the Purchaser pursuant to Section 6.3 of this
Agreement.

Notwithstanding the foregoing, the transfer of the Purchased Assets pursuant to this
Agreement and the Sale Order shall not include the assumption of any Liability related to the
Purchased Assets unless Purchaser expressly assumes that Liability pursuant to Section 1.3 of
this Agreement.

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1.2 Excluded Assets Notwithstanding anything to the contrary in this Agreement, in
no event shall the Trustee be deemed to sell, transfer, assign or convey, or have caused to be
sold, transferred, assigned, transferred or conveyed, and the Bankruptcy Estate shall retain all
right, title and interest to, in and under all assets properties interests and rights of the
Bankruptcy Estate not included in the Purchased Assets including, without limitation, the
following assets properties interests and rights of the Bankruptcy Estate (collectively, the
“Excluded Assets”):

(a) except as may be selected by Purchaser pursuant to Section 6.3, all
Contracts including the leases to the Leased Real Property;

(b) all Accounts Receivable;

(c) all Cash and Cash Equivalents whether on hand, in transit or in banks or
other financial institutions security entitlements securities accounts commodity contracts and
commodity accounts;

(d) all Documents (whether copies or originals) (i) to the extent they relate
solely to any of the Excluded Assets or Excluded Liabilities or the organization, existence,
capitalization or debt financing of the Company or of any controlling Affiliate of the Company,
(ii) that the Company is required by Law to retain and is prohibited by Law from providing a
copy of to the Purchaser or (iii) prepared primarily in connection with the transactions
contemplated by this Agreement, including bids received from other parties;

(e) all membership interests or other equity interests in the Subsidiaries of the
Company;

(f) the Company’s D&O policy and the Bankruptcy Estate’s rights claims
demands proceedings credits causes of action or rights of set off thereunder and any letters of
credit related thereto;

(g) except as set forth in subsection 1.1(1), any avoidance claims or causes of
action under the Bankruptcy Code or applicable state Law, including, without limitation, all
rights and avoidance claims of the Bankruptcy Estate arising under Chapter 5 of the Bankruptcy
Code with respect to the Excluded Assets;

(h) all claims that the Bankruptcy Estate may have against any Person with
respect to any other Excluded Assets;

(i) the Bankruptcy Estate’s rights under this Agreement;

(j) all rights and interests of the Bankruptcy Estate with respect to any of the
Company’s employment agreements severance agreements and the Company Plans (including
any rights and interests relating to insurance policies offering coverage or benefits pursuant to
any Company Plans);

(k) all Tax assets of the Banlo'uptcy Estate;

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(l) all loans and other lndebtedness payable to the Bankruptcy Estate; and

(m) the properties and assets set forth on Schedule 1.2§m1.

1.3 Assumption of Liabilities On the terms and subject to the conditions set forth in
this Agreement and the Sale Order, the Purchaser shall assume, effective as of the Closing, and
from and after the Closing the Purchaser shall pay, perform and discharge when due, only the
following Liabilities and shall in no event assume any Liabilities of the Bankruptcy Estate not set
forth in this Section 1.3 (collectively, the “Assumed Liabilities”):

(a) any and all Liabilities arising out of the Purchaser’s ownership of the
Purchased Assets (including Liabilities in respect of any Contract assigned to Purchaser
pursuant to Section 6.3) after the Closing Date;

(b) any and all Liabilities for Taxes attributable to the Purchaser’s ownership
of the Purchased Assets or the Purchaser’s operation of the Business on or after the Closing
Date;

(c) all Liabilities from the operation of the maximum RPM ride after the
Closing Date to the extent such operation violates or infringes the MfNI Intellectual Property;
and

(d) all Liabilities set forth on Schedule 1.3gd[.

1.4 Excluded Liabilities Except as expressly provided in this Agreement and the
Sale Order, the Purchaser shall not assume or be liable, nor be deemed to have assumed or be
liable for, any Liability of the Bankruptcy Estate, the Company, or of any predecessor or
Affiliate of the Company, that is not an Assumed Liability. The Excluded Liabilities shall
remain the sole responsibility of and shall be retained, paid, performed and discharged solely by
the Bankruptcy Estate. The term “Excluded Liabilities” means all Liabilities not expressly listed
as Assumed Liabilities and includes without limitation, the following Liabilities:

(a) all Liabilities of the Company or the Bankruptcy Estate relating to or
otherwise arising, whether before, on or after the Closing, out of, or in connection with the
ownership, operation or conduct by the Company or the Bankruptcy Estate of the Purchased
Assets and the Business prior to the Closing, other than to the extent assumed pursuant to

Section 1.3gd1;

(b) all Liabilities of the Company or the Bankruptcy Estate relating to or
otherwise arising, whether before, on or after the Closing, out of, or in connection with, any of
the Excluded Assets;

(c) all Liabilities of the Company or the Bankruptcy Estate in respect of
Contracts except as provided in Section 6.3 with respect to Contracts as may be selected by
Purchaser;

(d) except as contemplated by Section 1.3§d1, all Liabilities of the Company
or the Bankruptcy Estate in respect of Indebtedness whether or not relating to the Business;

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(e) any claims demands proceedings or causes of action against the
Company subject to or covered by the Company’s insurance policies;

(f) all Liabilities under the Company Plans or in respect any of the
Company’s employment agreements and severance agreements

(g) any and all Liabilities for Taxes attributable to the ownership of the
Purchased Assets or the operation of the Business prior to the Closing Date;

(h) subject to Section 1.3(b), all Liabilities with respect to any pending Action
or any Action commenced after the Closing and arising out of or relating to any occurrence or
event happening prior to Closing;

(i) any Liability of the Bankruptcy Estate arising out of or relating to the
execution, delivery or performance of this Agreement or any of the other Trustee’s Documents;
and

(j) all Liabilities set forth on Schedule 1.4§ j 1.

1.5 “As ls” Transaction. PURCHASER HEREBY ACKNOWLEDGES AND
AGREES THAT, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN ARTICLE IV OF
THIS AGREEMENT, THE TRUSTEE MAKES NO REPRESENTATIONS OR
WARRANTIES WHATSOEVER, EXPRESS OR IMPLIED, WITH RESPECT TO ANY
MATTER RELATING TO THE PURCHASED ASSETS. WITHOUT IN ANY WAY
LIMITING THE FOREGOING, THE TRUSTEE HEREBY DISCLAIMS ANY WARRANTY,
EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR
PURPOSE AS TO ANY PORTION OF THE PURCHASED ASSETS. PURCHASER
FURTHER ACKNOWLEDGES THAT PURCHASER HAS CONDUCTED AN
INDEPENDENT INSPECTION AND INVESTIGATION OF THE PHYSICAL CONDITION
OF THE PURCHASED ASSETS AND ALL SUCH OTHER MATTERS RELATING TO OR
AFFECTING THE PURCHASED ASSETS AS PERMITTED lN THE SHORTENED TIME-
FRAME OF THIS ASSET PURCHASE PROCESS AND THAT IN PROCEEDING WITH ITS
ACQUISITION OF THE PURCHASED ASSETS, EXCEPT FOR ANY REPRESENTATIONS
AND WARRANTIES EXPRESSLY SET FORTH IN ARTICLE IV HEREOF, PURCHASER
IS DOfNG SO BASED SOLELY UPON SUCH INDEPENDENT INSPECTIONS AND
INVESTIGATIONS. ACCORDINGLY, PURCHASER WILL ACCEPT THE PURCHASED
ASSETS AT THE CLOSING “AS IS,” “WHERE IS,” AND “WITH ALL FAULTS.”

ARTICLE II.

CONSIDERATION
2.1 Consideration.

(a) The aggregate consideration for the Purchased Assets payable by the
Purchaser to the Trustee shall be Twenty-Five Million Dollars ($25,000,000.00) (the “Purchase
Me”), which shall be payable by wire transfer of immediately available funds to the account
identified by the Trustee on Schedule 2.1§a1. The Purchase Price shall be reduced by the sum

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of One Million Dollars (81,000,000) if the Closing does not occur on or before February 20,
2009 and shall be further reduced in the amount of Fifty Thousand Dollars for each calendar
day after February 20, 2009 that the Closing occurs; provided however such purchase price
reduction shall not occur if the failure to close arises solely out of act or failure to act by the
Purchaser. ln the event the Closing does not occur on or before February 20, 2009, the Trustee
and the Purchaser shall negotiate in good faith acceptable arrangements that will minimize any
adjustment of the Purchase Price.

(b) ln addition to the foregoing consideration, as consideration for the grant,
sale, assignment, transfer and delivery of the Purchased Assets the Purchaser shall assume and
discharge the Assumed Liabilities

ARTICLE III.

DEPOSIT, CLOSING AND TERMINATION

3.1 Deposit. The Purchaser submitted a deposit in the amount of Two Million, Three
Hundred Thousand Dollars ($2,300,000.00) (the “Deposit”). The Deposit will be held by the
Trustee in accordance with the terms and conditions of the Escrow Agreement attached hereto as
Exhibit C. The Deposit will be credited against the Purchase Price at the Closing and will
otherwise be held and disbursed as provided in this Agreement.

3.2 Closing. Subject to the satisfaction of the conditions set forth in Sections 8.1, 8_.2
and § hereof or the waiver thereof by the party entitled to waive the applicable condition, the
closing of the purchase and sale of the Purchased Assets the delivery of the Purchase Price to the
Trustee, the assumption of the Assumed Liabilities and the consummation of the other
transactions contemplated by this Agreement (the “Closing”) shall take place at the Wilmington,
Delaware offices of Cozen O’Connor (or at such other place as the parties may designate in
writing) on the date that is no later than the first Business Day following the entry of the Sale
Order. The date on which the Closing shall be held is referred to in this Agreement as the

“Closing Date.”

3.3 Closing Deliveries by the Trustee. At the Closing, the Trustee shall deliver to the
Purchaser:

 

(a) a duly executed bill of sale with respect to the Purchased Assets
substantially in the form attached hereto as Exhibit A;

(b) a true and correct copy of the Sale Order;

(c) duly executed transfer tax returns with respect to any transfer tax due on
the sale of real property in South Carolina;

(d) a duly executed deed in recordable form sufficient to convey good and
marketable fee simple title to the Owned Real Property;

(e) all other previously undelivered certificates agreements and other
documents of transfer or conveyance as may be reasonably requested by the Purchaser or are

 

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otherwise required by this Agreement to be delivered by the Trustee at or prior to the Closing in
connection with the transactions contemplated by this Agreement; and

(f) the Trustee certificate required to be delivered pursuant to Section 8.3§b1,'

(g) an affidavit duly executed by the Trustee stating that the Company is not a
"foreign person" as defined Sec. 1445(b)(2) of the Intemal Revenue Code of 1986, as amended

3.4 Closing Deliveries by the Purchaser. At the Closing, the Purchaser shall deliver
to (or at the direction of) the Trustee:

 

(a) the officer’s certificates required to be delivered pursuant to

Sections 8.2ga1;

(b) duly executed transfer tax returns with respect to the any transfer tax due
on the sale of real property in South Carolina; and

(c) all other previously undelivered certificates agreements and other
documents of transfer or conveyance as may be reasonably requested by the Trustee or are
otherwise required by this Agreement and the Purchaser’s Documents to be delivered by the
Purchaser at or prior to the Closing in connection with the transactions contemplated by this
Agreement.

In addition, at the Closing, the Deposit will be released and delivered to the Trusteel
3.5 Termination of Agreement. This Agreement may be terminated as follows:

(a) by the mutual written consent of the Trustee and the Purchaser at any time
prior to the Closing;

(b) by the Trustee, if the Closing shall not have been consummated on the
fifth Business Day following the entry of the Sale Order, or by the Purchaser, if the Closing
shall not have been consummated on or prior to February 20, 2009 (the "Termination Date");
provided, however, that the right to terminate this Agreement under this Section 3.5§c1 shall not
be available to any party whose failure to fulfill any material obligation under this Agreement
has been the cause of, or resulted in, the failure of the Closing to occur on or before such date;

(c) by either the Purchaser or the Trustee, if there shall be any Law that makes
consummation of the transactions contemplated hereby illegal or otherwise prohibited, or there
shall be in effect a final non-appealable order of a Governmental Body of competent
jurisdiction restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated hereby; it being agreed that the parties hereto shall promptly appeal any adverse
determination which is appealable (and pursue such appeal with reasonable diligence);

(d) by the Purchaser, if the Chapter 7 Case is dismissed;

(e) by the Purchaser on or prior to 5:00 p.m., Eastern Standard Time, on
February 117 2008 ("the "Diligence Date”), if its due diligence investigation with respect to the

 

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Purchased Assets causes Purchaser to determine in Purchaser’s sole discretion that it would be
inadvisable to consummate the purchase;

(f) by the Purchaser, if there shall be a breach by Seller of any representationa
warranty, covenant or agreement contained in this Agreement which would result in a failure of
a condition set forth in Section 8.3 and which breach is not reasonably capable of being cured
such that the applicable condition is not capable of being satisfied prior to the Termination
Date;

(g) by the Trustee on or prior to 5:00 p.m., Eastern Standard Time, on
February 11, 2008, if the Trustee has not reached a written agreement with the Senior
Revolving Lenders regarding administrative expenses as contemplated by Section 6.2§iii)§ C);

(h) by the Trustee, if all of the conditions set forth in Sections 8.1 and §
have been satisfied (other than conditions that by their nature are to be satisfied at the Closing)
or waived and the Purchaser fails to deliver the Purchase Price and/or pay the Deposit.

3.6 Procedure Upon Termination. ln the event of a termination of this Agreement by
the Purchaser or the Trustee, or both, pursuant to Section 3.5: (a) written notice thereof shall be
given promptly by the terminating party to the other party hereto, specifying the provision hereof
pursuant to which such termination is made, (b) this Agreement shall thereupon terminate and
become void and of no further force and effect and (c) the consummation of the transactions
contemplated by this Agreement shall be abandoned without further action of the parties hereto.
If this Agreement is terminated as provided herein, each party shall redeliver all documents
work papers and other material of any other party relating to the transactions contemplated
hereby, whether so obtained before or after the execution hereof, to the party furnishing the
same.

3.7 Effect of Termination. In the event that this Agreement is validly terminated as
provided herein, then each of the parties shall be relieved of its duties and obligations arising
under this Agreement effective as of the date of such termination and such termination shall be
without Liability to the Purchaser or the Trustee; provided, however, that Section 3.5,
Section 3.6, this Section3.7 and Article XI shall survive any such termination and shall be
enforceable hereunder; and provided, further, that in the event this Agreement is terminated, the
Trustee shall be entitled to retain the Deposit in full and complete satisfaction of all of the
Trustee’s claims against Purchaser unless: (i) this Agreement was terminated pursuant to
Sections 3.5(a), 3.5(c) or 3.5(g) or (ii) the Purchaser terminated this Agreement in accordance
with any of Sections 3.5(b), 3.5(d), 3.5(e), 3.5(D or Article XI, in which case the Deposit
together with any interest accrued thereon shall be immediately returned to the Purchaser. ln no
event shall any termination of this Agreement relieve any party hereto of any Liability for any
willful breach of this Agreement by such party.

 

 

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ARTICLE IV.

REPRESENTATIONS AND WARRANTIES OF THE TRUSTEE

The Trustee hereby represents and warrants in this Article IV to the Purchaser for itself
and on behalf of the Company as of the Execution Date (except with respect to representations
and warranties made as of a particular date, which shall be deemed to be made only as of such
date) except as qualified or supplemented by sections in the Trustee Disclosure Schedule
attached hereto, as the same may be amended or modified Each such section of the Trustee
Disclosure Schedule is numbered by reference to representations and warranties in a specific
Section of this Article IV. The information disclosed in any numbered part of the Trustee
Disclosure Schedule shall be deemed to be disclosed with respect to every other representation
and warranty in this Article IV if such disclosure is reasonably apparent on its face. The
Purchaser acknowledges that the Park has been closed since September 21, 2008 and that the
representations and warranties below are qualified by that acknowledgement

4.1 Authority Relative to This Agreement Except for such authorization as is
required by the Bankruptcy Court, the Trustee has all requisite power, authority and legal
capacity to (a) execute and deliver this Agreement, (b) execute and deliver the Trustee’s
Documents and (c) consummate the transactions contemplated hereby and under the Trustee’s
Documents. This Agreement has been, and at or prior to the Closing, the Trustee’s Documents
will be, duly and validly executed and delivered by the Trustee and (assuming the due
authorization, execution and delivery by the other parties hereto and thereto, and the entry of the
Sale Order) this Agreement constitutes and the Trustee’s Documents when so executed and
delivered will constitute, legal, valid and binding obligations of the Trustee, enforceable against
the Trustee in accordance with their respective terms

4.2 Brokers and Finders. Except with respect to the engagement of Raymond J ames
& Associates lnc. and the Trustee’s entitlement to statutory commissions awarded under the
Bankruptcy Code, the Trustee has not employed any investment banker, broker, finder,
consultant or intermediary in connection with the transactions contemplated by this Agreement
which would entitle any of the Trustee’s professionals any investment banking, brokerage,
finder’s or similar fee or commission in connection with this Agreement or the transactions
contemplated hereby, and the Trustee covenants and agrees to pay any such fee or commission
payable to Raymond J ames & Associates Inc.

4.3 Absence of Certain Developments. Except for actions taken in connection with
the Chapter 7 Case, as contemplated or expressly required or permitted by this Agreement, or as
set forth in Section 4.3 of the Trustee Disclosure Schedule, since the appointment of the Trustee,
the Trustee has not acquired sold leased transferred assigned any Purchased Assets or entered
into, accelerated terminated modified amended or cancelled any agreement with respect to the
Purchased Assets

4.4 Regulatorv Matters; Permits.

(a) To the Knowledge of the Trustee, other than due to conflicts breaches and
defaults the enforcement of which will be stayed by virtue of the Chapter 7 Case, all of the

 

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material Permits that are necessary for the operation of the Business as it was conducted by the
Company and for the ownership of the Purchased Assets are held by the Bankruptcy Estate in
full force and effect (collectively, the “Material Permits”). Section 4.4(a) of the Trustee
Disclosure Schedule sets forth a true, complete and correct list of all Material Permits held by
the Bankruptcy Estate as of the Execution Date,

(b) Except for the commencement of the Chapter 7 Case and to the extent that
enforcement with respect to such non-compliance is stayed as a result of the Chapter 7 Case, to
the Knowledge of the Trustee, the Bankruptcy Estate is in compliance with its obligations under
each of the Material Permits and the rules and regulations of the Govemmental Body issuing
such Material Permits and no condition exists that without notice or lapse of time or both
would constitute a default under, or a violation of, any Material Permit except for such failures
to be in compliance or defaults that would not have, individually or in the aggregate, a material
adverse effect on the Trustee’s ability to own the Purchased Assets.

(c) To the Knowledge of the Trustee, each Material Permit is valid and in full
force and effect and there is no proceeding, notice of violation, order of forfeiture or complaint
or investigation against the Trustee relating to any of the Material Permits pending or to the
Knowledge of the Trustee, threatened before any Govemmental Body.

4.5 Title to Assets Other than due to conflicts breaches and defaults the
enforcement of which will be stayed by virtue of the filing of the Chapter 7 Case, at Closing, the
Trustee will have (and shall convey to the Purchaser at the time of the transfer of the Purchased
Assets to the Purchaser) good and marketable title or a valid leasehold interest in and to each of
the Purchased Assets free and clear of all Encumbrances except Permitted Encumbrances

4.6 Real Property.

(a) Section 4.6§a) of the Trustee Disclosure Schedule sets forth a complete
and correct list of all Owned Real Property. Other than due to conflicts breaches and defaults
the enforcement of which will be stayed by virtue of the filing of the Chapter 7 Case, the
Trustee has good and marketable title to the Owned Real Property, subject only to Permitted
Encumbrances

(b) Section 4.6§b) of the Trustee Disclosure Schedule sets forth a complete
and correct list of all Leased Real Property, if any, specifying the address or other information
sufficient to identify all such Leased Real Property.

(c) Except as set forth on Section 4.6gc[ of the Trustee Disclosure Schedule,
the Trustee has not leased or granted to any Person the right to access enter upon, use, occupy,
lease, manage, operate, maintain, broker or purchase any portion of Trustee’s interest in the
Owned Real Property, that is not otherwise a Permitted Encumbrance or that will not otherwise
be terminated on or prior to the Closing Date.

(d) To the Knowledge of the Trustee, the Trustee has not received any written
notice of, oral notice of, condemnation or eminent domain proceedings pending or threatened
that affect the Owned Real Property, To the Knowledge of the Trustee, the Trustee has not
received any written notice of any oral notice of, any zoning, ordinance, building, fire or health

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code or other legal violation affecting any such Owned Real Property, except where any such
violations would not have, individually or in the aggregate, a material adverse effect on the
ability to operate the Business as it was operated by the Company.

(e) To the Knowledge of the Trustee, there are no encroachments or other
facts or conditions affecting any of the Owned Real Property that would be revealed by an
accurate survey or inspection thereof, which encroachments facts or conditions would have,
individually or in the aggregate, a material adverse effect on the ability of the Trustee to operate
the Business as it was operated by the Company. To the Knowledge of the Trustee, none of the
buildings and structures on such Owned Real Property encroaches, in any material respect,
upon real property of another Person or upon the area of any easement affecting the Owned
Real Property,

4.7 Environmental Matters To the Knowledge of the Trustee (a) the Trustee, the
Company and/or the Bankruptcy Estate is in compliance with all Environmental Laws, (b) there
is no material investigation, suit, claim, action or judicial or administrative proceeding relating to
or arising under Environmental Laws that is pending or, to the Knowledge of the Trustee,
threatened against the Trustee, the Company and/or the Bankruptcy Estate or any real property
owned operated or leased by the Trustee, the Company and/or the Bankruptcy Estate, or any of
the Purchased Assets (c) none of the Owned Real Property has been listed on the federal
Comprehensive Environmental Response, Compensation Liability lnformation System
(CERCLIS) database or any other similar federal, provincial or state list of known or suspected
contaminated sites (d) no Hazardous Materials have been treated stored or released by the
Trustee, the Company and/or the Bankruptcy Estate at any location or by any other Person at, on
or under the Owned Real Property in any manner or concentration that requires investigation,
removal or remediation under Environmental Laws or would otherwise cause the Trustee or any
future owner or operator of any Owned Real Property to incur material liability under
Enviromnental Laws, and (e) the Trustee has not received any notice of or entered into any order,
settlement, judgrnent, injunction or decree involving uncompleted outstanding or unresolved
material obligations liabilities or requirements relating to or arising under Environmental Laws.

ARTICLE V.

REPRESENTATIONS AND WARRANTIES OF THE PURCHASER

The Purchaser hereby makes the representations and warranties in this Article V to the
Company as of the Execution Date (except with respect to representations and warranties made
as of a particular date, which shall be deemed to be made only as of such date).

5.1 Corporate Organization and Oualification. The Purchaser is a limited liability
company duly organized validly existing and in good standing under the Laws of the State of
Delaware. The Purchaser is qualified and in good standing as a foreign entity in each
jurisdiction where the properties owned leased or operated or the business conducted by it
require such qualification except as would not have or reasonably be expected to have a material
adverse effect on the Purchaser’s ability to consummate the transactions contemplated by the
Purchaser’s Documents, The Purchaser has all requisite power and authority to own its
properties and to carry on its business as it is now being conducted except as would not have or

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reasonably be expected to have a material adverse effect on the Purchaser’s ability to
consummate the transactions contemplated by the Purchaser’s Documents

5.2 Authority Relative to This Agreement Except for such authorization as is
required by the Bankruptcy Court, the Purchaser has the requisite limited liability company
power and authority to (a) execute and deliver this Agreement, (b) execute and deliver the
Purchaser’s Documents and (c) perform its obligations hereunder and under the Purchaser’s
Documents and consummate the transactions contemplated hereby and thereby. The execution,
delivery and performance by the Purchaser of this Agreement and each of the Purchaser’s
Documents have been duly authorized by all necessary limited liability company action on
behalf of the Purchaser. This Agreement has been, and at or prior to the Closing each of the
Purchaser’s Documents will be, duly and validly executed and delivered by the Purchaser and
(assuming the due authorization, execution and delivery by the other parties hereto and thereto,
and the entry of the Sale Order) this Agreement constitutes and each of the Purchaser’s
Documents when so executed and delivered will constitute, legal, valid and binding obligations
of the Purchaser, enforceable against the Purchaser in accordance with their respective terms
subject to applicable bankruptcy, insolvency, reorganization, moratorium and similar laws
affecting creditors’ rights and remedies generally, and subject, as to enforceability, to general
principles of equity, including principles of commercial reasonableness good faith and fair
dealing (regardless of whether enforcement is sought in a proceeding at law or in equity).

 

5.3 Consents and Approvals; No Violation; No Litigation.

(a) Except as (i) with respect to the Chapter 7 Case, or (ii) as permitted by the
Sale Order, none of the execution and delivery by the Purchaser of this Agreement or the
Purchaser’s Documents the consummation of the transactions contemplated hereby or thereby,
or the compliance by the Purchaser with any of the provisions hereof or thereof will conflict
with, or result in any violation of or default (with or without notice or lapse of time, or both)
under, or give rise to a right of acceleration, payment, amendment, termination or cancellation
under any provision of (A) the certificate of formation of the Purchaser, (B) any Contract
(including but not limited to any Contracts related to financing) or Permit to which the
Purchaser is a party or by which the Purchaser or its properties or assets are bound (C) any
order of any Governmental Body applicable to the Purchaser or by which any of the properties
or assets of the Purchaser are bound or (D) any applicable Law, other than, in the case of
clauses (B), (C), and (D), except as would not have or reasonably be expected to have a
material adverse effect on the Purchaser’s ability to consummate the transactions contemplated
by this Agreement,

(b) Except (i) with respect to the Chapter 7 Case, (ii) the entry of the Sale
Order, and (iii) Where failure to obtain a consent, approval, authorization or action, or to make
such filing or notification, would not, individually or in the aggregate, reasonably be expected
to have a material adverse effect, the Purchaser is not required to file, seek or obtain any notice,
authorization, approval, order, or consent of or with any Governmental Body in connection with
the execution, delivery and performance by the Purchaser of this Agreement or the
consummation of the transactions contemplated hereby.

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(c) No Action by or against the Purchaser is pending or, to the knowledge of
the Purchaser, threatened which could affect the legality, validity or enforceability of this
Agreement, any of the Purchaser’s Documents or the consummation of the transactions
contemplated hereby and thereby.

5.4 Brokers and Finders. Except with respect to the engagement of Roundbox
Advisors, the Purchaser has not employed any investment banker, broker, finder, consultant or
intermediary in connection with the transactions contemplated by this Agreement which would
be entitled to any investment banking, brokerage, finder’s or similar fee or commission in
connection with this Agreement or the transactions contemplated hereby, and Purchaser
covenants and agrees to pay any such fee or commission payable to Roundbox Advisors.

5.5 Investigation and Due Diligence. The Purchaser shall have until the Diligence
Date to further conduct its own independent review and analysis of (i) the Business the
Purchased Assets and the Assumed Liabilities of the value of such Purchased Assets and of the
business operations technology, assets Liabilities financial condition and prospects of the
Business and the Trustee shall provide Purchaser with reasonable and coordinated access to the
personnel, properties premises (including the Owned Real Property) and records of the Business
for this Purpose; and (ii) all orders of, and all motions pleadings and other submissions to, the
Bankruptcy Court in connection with the Chapter 7 Case. Should the Purchaser proceed to
Closing, the Purchaser acknowledges that the price being paid under this Agreement for the
Purchased Assets is the fair value for acquiring the Purchased Assets under the circumstances
and that such value, rather than replacement cost, is the appropriate measure of damages if and to
the extent the Purchaser may have any recourse for any failure of the Trustee to deliver the
Purchased Assets on behalf of the Bankruptcy Estate in accordance with the terms of this
Agreement, In entering into this Agreement, the Purchaser has relied upon its own investigation
and analysis as well as the representations and warranties made by the Trustee in Article IV and
not on any factual representations or opinions of the Trustee, The Purchaser acknowledges that
(i) none of the Trustee, the Company, their Affiliates or any of their respective officers directors
employees or representatives make or have made any representation or warranty, either express
or implied at law or in equity, as to the Purchased Assets or the accuracy or completeness of any
of the information provided or made available to the Purchaser or any of its Affiliates (ii) the
Park has been closed since September 21, 2008 and (iii) none of the Trustee, the Company, their
Affiliates or any of their respective officers directors employees or representatives will have or
be subject to any liability or indemnification obligation to the Purchaser or to any other Person
resulting from the distribution to the Purchaser, its Affiliates or representatives of, or the
Purchaser’s use of, any information relating to the Purchased Assets including any information,
documents or material made available to the Purchaser, whether orally or in writing.

ARTICLE VI.
BANKRUPTCY COURT MATTERS

6.1 Bankruptcy Actions.

(a) As soon as reasonably practicable after execution of this Agreement (but
not later than two (2) Business Days after such execution), the Trustee shall file with the

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Bankruptcy Court a motion seeking entry of the Sale Order (the "Sale Motion"). The Trustee
shall provide a draft of the Sale Motion to the Purchaser and the Senior Revolving Lenders
prior to its filing in adequate time for the Purchaser and the Senior Revolving Lenders to
provide comments thereon, which the Trustee shall consider in good faith. The Trustee shall
use its reasonable best efforts to obtain the entry of the Sale Order as a Final Order on the
Bankruptcy Court’s docket The Trustee shall file all pleadings with the Bankruptcy Court as
are necessary or appropriate to secure entry of the Sale Order, shall serve all creditors and all
other parties entitled to notice of such pleadings under applicable provisions of the Bankruptcy
Code and Rules

(b) ln the event an appeal or other proceeding is filed seeking review of the
Sale Order, or if a motion to reconsider, vacate, modify, amend or stay such Order is filed the
Trustee shall immediately notify the Purchaser and the Senior Revolving Lenders of such
appeal, other proceeding or motion and shall provide to the Purchaser and the Senior Revolving
Lenders within one (1) Business Day after the Trustee’s receipt thereof a copy of the notice of
appeal or motion.

6.2 Sale Order. The Sale Order shall be entered by the Bankruptcy Court
substantially in the form attached hereto as Exhibit B and otherwise in a form and substance
reasonably acceptable to the Trustee, the Purchaser and the Senior Revolving Lenders Without
limiting the foregoing, the Sale Order shall, among other things (i) approve, pursuant to Sections
105, 363 and 365 of the Bankruptcy Code, (A) the execution, delivery and performance by the
Trustee of this Agreement, (B) the sale of the Purchased Assets to the Purchaser on the terms set
forth herein and free and clear of all Encumbrances (other than Encumbrances included in the
Assumed Liabilities and Permitted Encumbrances), and (C) the performance by the Trustee and
the Bankruptcy Estate of their respective obligations under this Agreement; (ii) find that
Purchaser is a “good faith” buyer within the meaning of Section 363(m) of the Bankruptcy Code,
not a successor to the Trustee, the Bankruptcy Estate or the Company and grant the Purchaser the
protections of Section 363(m) of the Bankruptcy Code; (iii) provide that the proceeds from the
sale of the Purchased Assets less any normal and customary costs of closing including real estate
taxes (excluding amounts paid by the Purchaser in accordance with the terms of this Agreement),
and net of an amount equal to (A) the sum of $1,273,250 for the benefit of and use by the
Bankruptcy Estate, (B) the fees and expenses of Raymond J ames with respect to its role in the
sale process and (C) administrative expenses in an amount and subject to terms and
documentation to be separately agreed between the Trustee and the Senior Revolving Lenders
shall be used first to pay (and shall be paid directly to) the Senior Revolving Lenders until their
claims are paid in full, including, without limitation, claims for any and all principal, unpaid
hedging obligations interest, attomeys’ fees and expenses and advances made during the
Chapter 7 Case, in each case, to the fullest extent provided under the Pre-Petition Loan
Documents; (iv) provide that any remaining proceeds from the sale of the Purchased Assets
(after the claims of the Senior Revolving Lenders have been paid in full) shall be delivered to the
Trustee for distribution among the creditors of the Bankruptcy Estate in accordance with the
order of priority applicable to their claims; and (v) provide that in the event of a valid
termination of this Agreement and upon the exercise of a full credit bid pursuant to Section
363(k) of the Bankruptcy Code , the Trustee shall convey the Purchased Assets to the Senior
Revolving Lenders (or their designee). The Purchaser agrees that it will promptly take such
actions as are reasonably requested by the Trustee to assist in obtaining Bankruptcy Court

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approval of the Sale Order, including, without limitation, furnishing affidavits or other
documents or information for filing with the Bankruptcy Court for purposes among others of (a)
demonstrating that the Purchaser is a “good faith” purchaser under Section 363(m) of the
Bankruptcy Code and (b) establishing adequate assurance of future performance within the
meaning of Section 365 of the Bankruptcy Code, In the event that the Bankruptcy Court’s
approval of the Sale Order shall be appealed the Trustee shall use reasonable efforts to defend
such appeal.

6.3 Executory Contracts: The Trustee has informed the Purchaser that the
Trustee has filed motions to reject substantially all of the Company’s Contracts including all
personal property leases real property leases intellectual property agreements (to the extent
such are executory contracts), licenses and trademark agreements The Purchaser shall have
until February 13, 2009 to designate the Contracts that the Purchaser desires deleted from the
list of Contracts to be rejected in which case the Trustee shall withdraw the motion as to all
Contracts so designated by Purchaser. On or before February 27, 2009 the Purchaser shall
advise the Trustee which, if any, of the designated Contracts the Purchaser desires to have
assigned to it. The Trustee shall promptly file a motion seeking to assume and assign the
designated Contracts to Purchaser and the Trustee shall use its commercially reasonable best
efforts to have such motion heard by the Bankruptcy Court prior to March 7, 2009 and to have
the Court order that any assignment to the Purchaser of any insurance policies is effective as of
the Closing Date, The Purchaser may delete any Contract from the list of Contracts to be
assigned to the Purchaser at any time prior to the assignment of such Contract to the Purchaser.
The Purchaser shall be responsible for any payment necessary to cure any default on any
Contract assigned to the Purchaser, except that the Purchaser shall not be responsible for any
payments to cure any default on any insurance policy assigned to the Purchaser, and the Trustee
agrees that the cure payment is sufficient consideration for the assignment The Trustee agrees
that Purchaser may contact any party to any of the Company’s Contracts to discuss with such
party the assumption and assignment of such Contract to the Purchaser. If the Purchaser
designates a Contract for deletion from the list of Contracts to be rejected and subsequently
removes such Contract from the list of Contracts to be assigned to it, the Purchaser, if it is the
successful purchaser of the Purchased Assets shall pay to the Trustee the amount of any
administrative expense incurred by the Bankruptcy Estate on account of such Contract during
the period commencing with the Conversion Date through the date of rejection of such Contract
and in no event shall the Senior Revolving Lenders or their agents be responsible for such
amounts

ARTICLE VII.

COVENANTS AND AGREEMENTS

7.1 Restricted Activity. During the period from the Execution Date and continuing
until the earlier of (i) the termination of this Agreement in accordance with Section 3.5 or (ii) the
Closing, except (A) for any limitations on operations of the Business imposed by, or actions
required by, the Bankruptcy Court or the Bankruptcy Code, (B) as required by applicable Law,
(C) as otherwise expressly contemplated by this Agreement or as set forth on Schedule 7.1 or (D)
with the prior written consent of the Purchaser (such consent not to be unreasonably withheld
conditioned or delayed) the Trustee shall not:

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(i) mortgage, pledge or subject to any Encumbrance (other than a
Permitted Encumbrance) any of the Purchased Assets;

(ii) sell, assign, license, transfer, convey, lease, surrender, relinquish or
otherwise dispose of any of the Purchased Assets;

(iii) waive or release any material right of the Bankruptcy Estate that
constitutes a Purchased Asset; or

(iv) enter into any Contract to do any of the foregoing or agree to do
anything prohibited by this Section 7.1.

7.2 Access to Information.

(a) The Trustee agrees that, between the Execution Date and the earlier of the
Closing Date and the date on which this Agreement is terminated in accordance with
Section 3.5, the Purchaser shall be entitled through its officers employees counsel,
accountants and other authorized representatives agents and contractors (“Representatives”), to
have such reasonable access to and make such reasonable investigation and examination of the
books and records properties businesses assets accountants auditors and operations of the
Business as the Purchaser’s Representatives may reasonably request. Any such investigations
and examinations shall be conducted during regular business hours upon reasonable advance
notice and under reasonable circumstances including the Trustee’s right to have his
Representative accompany the Purchaser at the time of any inspection or examination and shall
be subject to restrictions under applicable Law, Pursuant to this Section 7.2, the Trustee shall
furnish to the Purchaser and its Representatives such property related data and other
information as such Persons reasonably request to the extent such data and information is
reasonably available to the Trustee. The Trustee shall use his respective commercially
reasonable efforts to cause his Representatives to reasonably cooperate with the Purchaser and
the Purchaser’s Representatives in connection with such investigations and examinations and
the Purchaser shall, and use its commercially reasonably efforts to cause its Representatives to,
reasonably cooperate with the Trustee and his Representatives and shall use its reasonable
efforts to minimize any disruption to the Business

(b) From and after the Closing Date, the Purchaser shall give the Trustee and
the Trustee’s Representatives reasonable access during normal business hours upon reasonable
advance notice and under reasonable circumstances to the offices facilities properties assets
employees Documents (including, without limitation, any Documents included in the
Purchased Assets), personnel files and books and records of the Purchaser pertaining to (i) the
conduct of the Business or ownership of the Purchased Assets prior to the Closing Date or
(ii)the Excluded Assets and Excluded Liabilities Without limiting the generality of the
foregoing, the Purchaser shall, and shall use commercially reasonable efforts to cause each of
its Affiliates to, cooperate with the Trustee,

(c) No information received pursuant to an investigation made under this
Section 7.2 shall be deemed to (i) qualify, modify, amend or otherwise affect any
representations warranties covenants or other agreements of the Trustee set forth in this

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Agreement or any certificate or other instrument delivered to the Purchaser in connection with
the transactions contemplated hereby, (ii) limit or restrict the remedies available to the parties
under applicable Law arising out of a breach of this Agreement or otherwise available at Law or
in equity, or (iii) limit or restrict the ability of either party to invoke or rely on the conditions to
the obligations of the parties to consummate the transactions contemplated by this Agreement
set forth in Article VIII.

7.3 Further Agreements. The Purchaser authorizes and empowers the Trustee from
and after the Closing Date to receive and to open all mail received by him relating to the
Purchased Assets or the Assumed Liabilities and to deal with the contents of such
communications in accordance with the provisions of this Section 7.3. The Trustee shall
(i) promptly deliver to the Purchaser any mail or other communication received by him after the
Closing Date and relating to the Purchased Assets or the Assumed Liabilities (ii) promptly wire
transfer in immediately available funds to the Purchaser any cash, electronic credit or deposit
received by the Trustee but solely to the extent that such cash, electronic credit or deposit are on
account of any Purchased Assets or Assumed Liabilities and (iii) promptly forward to the
Purchaser any checks or other instruments of payment that the Trustee may receive but solely to
the extent that such checks or other instruments are on account of any Purchased Assets or
Assumed Liabilities The Purchaser shall (x) promptly deliver to the Trustee any mail or other
communication received by it after the Closing Date and relating to the Excluded Assets or the
Excluded Liabilities (y) promptly wire transfer in immediately available funds to the Trustee,
any cash, electronic credit or deposit received by the Purchaser but solely to the extent that such
cash, electronic credit or deposit are on account of any Excluded Assets or Excluded Liabilities
and (z) promptly forward to the Trustee any checks or other instruments of payment that it
receives but solely to the extent that such checks or other instruments are on account of any
Excluded Assets or Excluded Liabilities From and after the Closing Date, the Trustee shall refer
all inquiries with respect to the Purchased Assets and the Assumed Liabilities to the Purchaser,
and the Purchaser shall refer all inquiries with respect to the Excluded Assets and the Excluded
Liabilities to the Trustee.

7.4 Preservation of Records The Trustee and the Purchaser agree that each of them
shall preserve and keep the records held by them (including the Purchaser’s Affiliates in the case
of the Purchaser) relating to the Purchased Assets the Assumed Liabilities the Excluded Assets
and the Excluded Liabilities as the case may be, for a period of five (5) years from the Closing
Date, in the case of the Purchaser, and until the closing of the Chapter 7 Case in the case of the
Trustee, and shall make such records available to the other party as may be reasonably required
by such other party in connection with, among other things any insurance claims by, Actions or
Tax audits against or investigations by any Governmental Body of the Bankruptcy Estate or the
Purchaser or in order to enable the Trustee or the Purchaser to comply with their respective
obligations under this Agreement and each other agreement, document or instrument
contemplated hereby or thereby. ln the event the Trustee or the Purchaser wishes to destroy such
records at the end of such applicable period such party shall first give sixty (60) days’ prior
written notice to the other party and such other party shall have the right at its option and
expense, upon prior written notice given to such party within such sixty (60) day period to take
possession of the records within one hundred and twenty (120) days after the date of such notice,
or such shorter period as the closing of the Chapter 7 Case shall permit.

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7.5 Publicity. The Trustee, Raymond James or the Purchaser may issue a press
release, post information to its web site or make a public announcement concerning the
transactions contemplated hereby after the Sale Motion is filed with the Bankruptcy Court. The
publishing party shall provide a copy of the proposed published information to the other before
publishing The non-publishing party shall have the right, which must be exercised within 24
hours of receipt or is deemed waived to disapprove of the proposed published information if and
only if the proposed published information contains a material misstatement of fact. No such
press release shall refer to Deutsche Bank Trust Company Americas or the Senior Revolving
Lenders without their express consent.

7.6 Notification of Certain Matters The Trustee shall give prompt notice to the
Purchaser, and the Purchaser shall give prompt notice to the Trustee, of (i) any notice or other
communication from any Person alleging that the consent of such Person which is or may be
required in connection with the transactions contemplated by this Agreement is not likely to be
obtained prior to Closing, (ii) any written objection or proceeding that challenges the transactions
contemplated hereby or the entry of the approval of the Bankruptcy Court and (iii) any fact,
event or condition that would cause or constitute a material breach of or make materially
inaccurate any representation or warranty of such party in this Agreement or may make the
satisfaction of the conditions in Article VIII impossible or unlikely.

7.7 No Solicitation. Effective as of the Diligence Date, or such earlier date as
Purchaser shall notify Trustee in writing that the Purchaser waives the right to terminate this
Agreement pursuant to paragraph 3.5(c) hereof, until the termination of this Agreement in
accordance with Section 3.5 herein:

(a) None of the Trustee, the Senior Revolving Lenders or any officer, director,
employee, agent or representative (including any investment banker, financial advisor, attomey,
accountant or other representative) of the Trustee or the Senior Revolving Lenders shall directly
or indirectly (i) solicit, initiate, encourage, facilitate (including by way of fumishing information)
or take any other action designed to facilitate any inquiries or proposals regarding any merger,
share exchange, consolidation, sale of assets sale of shares of capital stock (including by way of
a tender offer) or similar transactions involving the Bankruptcy Estate or any of the Purchased
Assets that, if consummated would constitute an Altemative Transaction (any of the foregoing
inquiries or proposals including the indication of any intention to propose any of the foregoing,
being referred to herein as an “Alternative Proposa ”), (ii) participate in any discussions or
negotiations regarding an Altemative Transaction or (iii) enter into any agreement regarding any
Alternative Transaction.

As used in this Agreement, “Altemative Transaction” means any of (i) a
transaction pursuant to which any person (or group of persons) (other than the Purchaser, the
Senior Revolving Lenders or any of their respective Affiliates), directly or indirectly, acquires or
would acquire the Purchased Assets whether from the Trustee or otherwise, (ii) a merger, share
exchange, consolidation or other business combination involving the Bankruptcy Estate,

(iii) any transaction pursuant to which any person (or group of persons) (other than the Senior
Revolving Lenders or their Affiliates) acquires or would acquire control of the Purchased Assets
or (iv) any other consolidation, business combination, recapitalization or similar transaction

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involving the Bankruptcy Estate or the Purchased Assets other than the transactions
contemplated by this Agreement,

(b) The Trustee shall notify the Purchaser and Senior Revolving Lenders
promptly (but in no event later than 24 hours) after receipt of any Alternative Proposal, or any
material modification of or material amendment to any Altemative Proposal, or any request for
nonpublic information relating to the Purchased Assets or for access to the properties books or
records of Company or the Trustee, other than any such request that does not relate to and would
not reasonably be expected to lead to, an Altemative Proposal. Such notice to Purchaser and
Senior Revolving Lenders shall be made orally and in writing, and shall indicate the identity of
the person making the Altemative Proposal or intending to make or considering making an
Altemative Proposal or requesting non-public information or access to the books and records of
Company or the Trustee, and a copy (if in writing) and summary of the material terms of any
such Altemative Proposal or modification or amendment to an Altemative Proposal. The
Trustee shall use its best efforts to keep Purchaser and Senior Revolving Lenders fully informed
on a current basis of any material changes in the status and any material changes or
modifications in the terms of any such Altemative Proposal, indication or request. The Trustee
shall also provide Purchaser and Senior Revolving Lenders 24 hours written notice before it
enters into any discussions or negotiations concerning any Altemative Proposal in accordance
with Section 7.7(a). The Bankruptcy Estate shall not enter into any confidentiality or other
agreement that would impede its ability to comply with its obligations under this Section 7.7(b).

(c) The Trustee and the Senior Revolving Lenders shall immediately cease
and cause to be terminated any existing discussions or negotiations with any persons (other than
Purchaser) conducted heretofore with respect to any of the foregoing, and the Trustee shall use
reasonable best efforts to cause all persons other than the Purchaser who have been furnished
confidential information regarding the Bankruptcy Estate or the Purchased Assets in connection
with the solicitation of or discussions regarding an Altemative Proposal within the 12 months
prior to the date hereof promptly to return or destroy such information The Trustee agrees not to
release any third party from the confidentiality and standstill provisions of any agreement to
which the Trustee or the Company is or may become a party, and shall immediately take all steps
necessary to terminate any approval that may have been heretofore given under any such
provisions authorizing any person to make an Altemative Proposal.

(d) The Trustee shall ensure that its officers directors and all employees
agents and representatives (including any investment bankers financial advisors attomeys
accountants or other representatives) and the Senior Revolving Lenders are aware of the
restrictions described in this Section 7.7 as reasonably necessary to avoid violations thereof. lt is
understood that any violation of the restrictions set forth in this Section 7.7 by any officer,
director, employee, agent or representative (including any investment banker, financial advisor,
attomey, accountant or other representative) of the Bankruptcy Estate shall be deemed to be a
breach of this Section 7.7 by the Trustee.

(e) Notwithstanding the provisions of this Section 7.7, at the hearing on the
Sale Motion, the Trustee may respond to inquiries from Qualified Bidders by providing
information that is not confidential information

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(f) Nothing herein shall be deemed to prohibit the Trustee from delivering
notice of the Sale Motion

ARTICLE VIII.

CONDITIONS TO CLOSING

8.1 Conditions Precedent to the Obligations of the Purchaser and the Trustee. The
respective obligations of each party to this Agreement to consummate the transactions
contemplated by this Agreement are subject to the satisfaction or written waiver, on or prior to
the Closing Date, of each of the following conditions (any or all of which may be waived in
writing by the Trustee and Purchaser in whole or in part to the extent permitted by applicable
Law):

(a) there shall not be in effect any statute, rule, regulation, executive order
enacted issued entered or promulgated by a Governmental Body of competent jurisdiction
restraining, enjoining or otherwise prohibiting the consummation of the transactions
contemplated hereby; and

(b) the Bankruptcy Court shall have entered the Sale Order as provided in
Article Vl (which shall include a finding of good faith under section 363(m) of the Bankruptcy
Code), and such order shall be a Final Order and otherwise in form and substance reasonably
satisfactory to the Trustee, the Purchaser and the Senior Revolving Lenders On the Closing
Date, the Sale Order shall be in effect, and shall not have been reversed stayed modified or
amended without the prior written consent of Purchaser.

8.2 Conditions Precedent to the Obligations of the Trustee. The obligations of the
Trustee on behalf of the Bankruptcy Estate to consummate the transactions contemplated by this
Agreement are subject to the fulfillment, on or prior to the Closing Date, of each of the following
conditions (any or all of which may be waived in writing by the Trustee in whole or in part to the
extent permitted by applicable Law):

(a) the representations and warranties of the Purchaser set forth in Article V
hereof shall be true and correct as of the Closing Date as though made on and as of the Closing
Date (except for such representations and warranties made as of a certain date, which shall be
true and correct as of such date as though made on and as of such date) except where the failure
of such representations or warranties to be true and correct (without giving effect to any
limitation or qualification as to “materiality” or “material adverse effect” set forth in such
representations and warranties) has not had and would not reasonably be expected to have,
individually or in the aggregate, a material adverse effect on the Purchaser’s ability to
consummate the transactions contemplated hereby, and the Trustee shall have received a
certificate signed by an authorized officer of the Purchaser, dated the Closing Date, to the
foregoing effect;

(b) the Purchaser shall have performed and complied in all material respects
with all obligations and agreements required by this Agreement to be performed or complied
with by the Purchaser on or prior to the Closing Date,;

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(c) the Purchaser shall have delivered or caused to be delivered to the
Trustee all of the items set forth in Section 3.4; and

(d) the Purchaser shall have delivered to the Trustee certified copies of (i) its
certificate of formation, (ii) limited liability company operating agreement and (iii) appropriate
evidence of all necessary limited liability company action by the Purchaser in connection with
the transactions contemplated by the Purchaser’s Documents including, without limitation:
(A) resolutions duly adopted by the Purchaser’s Managing Member approving the transactions
contemplated by this Agreement and the Purchaser’s Documents and authorizing the execution,
delivery, and performance by the Purchaser of this Agreement and the Purchaser’s Documents;
and (B) a certificate as to the incumbency of officers of the Purchaser executing this
Agreement, the Purchaser’s Documents and any instrument or other document delivered in
connection with the transactions contemplated by this Agreement.

8.3 Conditions Precedent to the OMations of the Purchaser. The obligations of the
Purchaser to consummate the transactions contemplated by this Agreement are subject to the
fulfillment, on or prior to the Closing Date, of each of the following conditions (any or all of
which may be waived in writing by the Purchaser in whole or in part to the extent permitted by
applicable Law):

(a) The Trustee shall have delivered to the Purchaser (i) a certified copy of the
Sale Order (which shall contain the terms described in Section 6.1 and be a Final Order as
described in Section 8.1§b1) and (ii) copies of all affidavits of service of the Sale Motion or
notice of such motion filed by or on behalf of the Trustee on behalf of the Bankruptcy Estate;

(b) The representations and warranties of the Trustee set forth in Article IV
hereof shall be true and correct as of the Closing Date as though made on and as of the Closing
Date (except for such representations and warranties made as of a certain date, which shall be
true and correct as of such date as though made on and as of such date) except where the failure
of such representations or warranties to be true and correct (without giving effect to any
limitation or qualification as to “materiality” or “material adverse effect” set forth in such
representations and warranties) has not had and would not reasonably be expected to have,
individually or in the aggregate, a material adverse effect on the value of the Purchased Assets
and the Purchaser shall have received a certificate signed by the Trustee, dated the Closing
Date, to the foregoing effect;

(c) The Trustee shall have performed and complied in all material respects
with all obligations and agreements required in this Agreement to be performed or complied
with by the Trustee on or prior to the Closing Date;

(d) The Trustee shall have delivered or caused to be delivered to the
Purchaser all of the items set forth in Section 3.3;

(e) Title to the Purchased Assets shall be good and marketable and free of
Encumbrances other than Encumbrances included in the Assumed Liabilities and Permitted
Encumbrances and a national title insurer is willing to issue an Owner's Policy of title insurance
to Purchaser insuring title to the Owned Real Property at standard rates; and

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(f) No Hazardous Materials have been discovered at any location on or under
the Real Property in any manner or concentration that requires investigation, removal or
remediation under Environmental Laws or would otherwise cause the Purchaser to incur
material liability under Environmental Laws.

8.4 Frustration of Closing Conditions. Neither the Trustee nor the Purchaser may rely
on the failure of any condition set forth in Sections 8.1, 8._2 or Q, as the case may be, if such
failure was caused directly by such party’s failure to comply with any provision of this
Agreement.

 

ARTICLE IX.

ADDITIONAL DEFINITIONS
9.1 Certain Definitions. As used herein:

(a) “Accounts Receivable” means (i) any and all accounts receivable,
trade accounts and other amounts receivables (including overdue accounts receivable) owed
with respect to the Contracts and any other rights to payment with respect to the Contracts and
the full benefit of all security for such accounts or rights to payment, including all trade
accounts receivable representing amounts receivable in respect of goods shipped products sold
or services rendered with respect to such Contracts and including any and all receivables
relating to collateral held by insurance companies or premium financiers related to insurance
policies or premiums therefor, in each case owing to the Company or otherwise comprising the
property of the Bankruptcy Estate in the Chapter 7 Case; (ii) all other accounts or notes
receivable of the Company from Contracts and the full benefit of all security for such accounts
or notes receivable arising in the conduct of the Business; and (iii) any and all claims remedies
or other rights relating to any of the foregoing, together with any interest or unpaid financing
charges accrued thereon, in each case existing on the Execution Date or arising in the Ordinary
Course of Business after the Execution Date and in each case that have not been satisfied or
discharged prior to the close of business on the Business Day immediately preceding the
Closing Date or have not been written off or sent to collection prior to the close of business on
the Business Day immediately preceding the Closing Date (it being understood that the receipt
of a check prior to the close of business on the Business Day immediately preceding the
Closing Date shall constitute satisfaction or discharge of the applicable account or note
receivable to the extent of the payment represented thereby),

(b) “Action” means any litigation, action, claim, suit, proceeding,
investigation, examination, hearing, arbitration, inquiry or subpoena.

(c) “Affiliate” means with respect to any Person, any other Person that,
directly or indirectly through one or more intermediaries controls or is controlled by, or is
under common control with, such Person, and the term “control” (including the terms
“controlled by” and “under common control with”) means the possession, directly or indirectly,
of the power to direct or cause the direction of the management and policies of such Person,
whether through ownership of voting securities by contract or otherwise.

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(d) “Agreement” has the meaning specified therefor in the preamble
hereto.

(e) “Assumed Liabilities” has the meaning specified therefor in
Section 1.3.

(f) “Bankruptcy Code” has the meaning specified therefor in the recitals
hereto.

(g) “Bankruptcy Court” has the meaning specified therefor in the recitals
hereto.

(h) “Bankruptcy Estate” has the meaning specified therefor in the recitals
hereto.

(i) “Business” means any and all business activities of any kind that are

conducted by the Company, including the operation of the Park,

(j) “Business Day” means any day other than a Saturday, Sunday or other
day on which commercial banks in New York City, New York are authorized or required by
Law to be closed

 

(k) “Cash and Cash Equivalents” means all of the cash of the Company or
otherwise comprising the property of the Bankruptcy Estate in the Chapter 7 Case (including
petty cash and checks received prior to the close of business on the Closing Date), checking
account balances marketable securities certificates of deposits time deposits bankers’
acceptances commercial paper and government securities cash or cash equivalents held as
collateral by insurance companies or premium financiers related to insurance policies or
premiums therefor, and other cash equivalents

(l) “Chapter 7 Case” has the meaning specified therefor in the recitals
hereto.

(m) “Mg” has the meaning specified therefor in Section 3.2.

(n) “Closing Date” has the meaning specified therefor in Section 3.2.

(o) “QLE” means the Internal Revenue Code of 1986, as amended

(p) “Company” has the meaning specified therefor in the preamble hereto.

(q) “Company Plan” means (i) all “employee benefit plans” (as defined in

Section 3(3) of ERISA), including all employee benefit plans which are “pension plans” (as
defined in Section 3(2) of ERISA) and any other employee benefit arrangements or payroll
practices (including, without limitation, severance pay, vacation pay, company awards salary
continuation for disability, sick leave, death benefit, hospitalization, welfare benefit, group or
individual health, dental, medical, life, insurance, survivor benefit, deferred compensation
profit sharing, retirement, retiree medical, supplemental retirement, bonus or other incentive

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compensation, stock purchase, stock option, stock appreciation rights restricted stock and
phantom stock arrangements or policies) and (ii) all material employment, tennination, bonus
severance, change in control, collective bargaining or other similar contracts or agreements
whether formal or informal, written or oral, in each case to which the Company or any ERISA
Affiliate is a party, with respect to which the Company or any ERISA Affiliate has any
obligation or which are maintained by the Company or any ERISA Affiliate or to which the
Company or an ERISA Affiliate contributes or is obligated to contribute with respect to current
or former directors officers consultants and employees of the Company.

(r) “Contract” means any written contract, purchase order, service order,
sales order, indenture, note, bond lease, license, commitment or instrument or other agreement,
arrangement or commitment that is binding upon a Person or its property.

(s) “Conversion Date” means the date the order of the Bankruptcy Court
converting the Company’s case under Chapter 11 of the Bankruptcy Code to a case under
Chapter 7 was entered on the docket.

(t) “Deposit” has the meaning specified therefor in Section 3.1.
(u) “Documents” means all of the Company’s written files documents

instruments papers books reports records tapes microfilms photographs letters budgets
forecasts plans operating records safety and environmental reports data, studies and
documents Tax Retums, ledgers joumals title policies customer lists regulatory filings
operating data and plans research material, technical documentation (design specifications
engineering information test results maintenance schedules functional requirements operating
instructions logic manuals processes flow charts etc.), user documentation (installation
guides user manuals training materials release notes working papers etc.), marketing
documentation (sales brochures flyers pamphlets web pages etc.), and other similar materials
in each case whether or not in electronic form.

(v) “Encumbrance” means any lien, encumbrance, claim (as defined in
Section 101(5) of the Bankruptcy Code), right, demand charge, mortgage, deed of trust, option,
pledge, security interest or similar interests title defects hypothecations easements rights of
way, restrictive covenants encroachments rights of first refusal, preemptive rights, judgments
conditional sale or other title retention agreements and other impositions, imperfections or
defects of title or restrictions on transfer or use of any nature whatsoever.

(w) "Environmental Laws” means all Laws relating to pollution or
protection of health, safety, natural resources or the environment, or the generation, use,
treatment, storage, handling, transportation or Release of, or exposure to, Hazardous Materials
including, without limitation, the Federal Water Pollution Control Act (33 U.S.C. §1251 et
seq.), Resource Conservation and Recovery Act (42 U.S.C. §6901 et seq.), Safe Drinking Water
Act (42 U.S.C. §3000(1) et seq.), Toxic Substances Control Act (15 U.S.C. §2601 et seq.),
Clean Air Act (42 U.S.C. §7401 et seq.), Comprehensive Environmental Response,
Compensation and Liability Act (42 U.S.C. §9601 et seq.) and other similar federal, state,
provincial and local statutes

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(x) “Eguipment” means all equipment, machinery, vehicles storage tanks
fumiture, fixtures and other tangible personal property of every kind and description and
improvements and tooling used, or held for use, in connection with the operation of the
Business and owned by the Bankruptcy Estate, located on the Park or held by another for the
benefit of the Trustee, including but not limited to, the rides and associated hardware,
communications equipment, the IT Assets and any attached and associated hardware, routers
devices panels cables manuals cords connectors cards, and vendor documents and
including all warranties of the vendor applicable thereto, to the extent such warranties are
transferable, but excluding software and any other intangibles associated therewith except to the
extent embedded in such Equipment and required to operate it.

(y) “ERISA” means the Employee Retirement lncome Security Act of
1974, as amended

(z) “ERISA Affiliate” means any entity which is a member of (A) a
controlled group of corporations (as defined in Section 414(b) of the Code), (B) a group of
trades or businesses under common control (as defined in Section 414(c) of the Code), (C) an
affiliated service group (as defined under Section 414(m) of the Code) or (D) any group
specified in regulations under Section 414(0) of the Code, any of which includes or included the
Company.

(aa) “Excluded Assets” has the meaning specified therefor in Section 1.2.

(bb) “Excluded Liabilities” has the meaning specified therefor in
Section 1.4.

(cc) “Execution Date” has the meaning specified therefor in the preamble
hereto.

(dd) “Final Order” means an order, judgment or other decree of the

Bankruptcy Court or any other court or judicial body of competent jurisdiction entered by the
Clerk of the Bankruptcy Court or such other court on the docket in the Chapter 7 Case or the
docket of such other court, which has not been modified amended reversed vacated or stayed

(ee) “GAAP” means United States generally accepted accounting
principles as in effect from time to time.

(ff) “Governmental Body” means any govemment, quasi governmental
entity, or other governmental or regulatory body, agency or political subdivision thereof of any
nature, whether foreign, federal, state or local, or any agency, branch, department, official,
entity, instrumentality or authority thereof, or any court or arbitrator (public or private) of
applicable jurisdiction

(gg) “Hazardous Materials” means petroleum and all derivatives thereof or
synthetic substitutes therefor, asbestos and asbestos containing materials and any and all
materials now or hereafter defined listed designated or classified as or otherwise determined
to be, “hazardous wastes” “hazardous substances” “radioactive,” “solid wastes” or “toxic” (or

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words of similar meaning) under or pursuant to or otherwise listed or regulated pursuant to any
Environmental Law.

(hh) “lndebtedness” of any Person means without duplication, (i) the
interest in respect of, principal of and premium (if any) in respect of (x) indebtedness of such
Person for money borrowed and (y) indebtedness evidenced by notes debentures bonds or
other similar instruments for the payment of which such Person is responsible or liable; (ii) all
obligations of such Person issued or assumed as the deferred purchase price of property; (iii) all
obligations of such Person under leases required to be capitalized in accordance with GAAP;
(iv) all obligations of such Person for the reimbursement of any obligor on any letter of credit,
banker’s acceptance or similar credit transaction; (v) all obligations of the type referred to in
clauses (i) through (iv) of any Persons for the payment of which such Person is responsible or
liable, directly or indirectly, as obligor, guarantor, surety or otherwise, including guarantees of
such obligations and (vi) all obligations of the type referred to in clauses (i) through (v) of
other Persons secured by any Encumbrance (other than Permitted Encumbrances), on any
property or asset of such Person (whether or not such obligation is assumed by such Person).

(ii) “ nventory” means all of the Bankruptcy Estate’s inventories of raw
materials office supplies works in progress goods spare parts and replacement and
component parts and fuel that are used or held for use, in connection with the operation of the
Business and are located on the Park or held for the benefit of the Trustee by a third party,
except for and excluding any perishable goods or inventory.

(jj) “IT Assets” means all of the Bankruptcy Estate’s computers computer
software and databases (including source code, object code and all related documentation),
firmware, middleware, servers workstations, routers hubs switches data communications
lines and all other information technology equipment and elements and all associated
documentation that are used or held for use, in connection with the operation of the Business

(kk) "Knowledge" means the actual knowledge of the Trustee,

(ll) “L_aw§” means all federal, state, local or foreign laws statutes
common law, rules codes regulations restrictions ordinances orders decrees approvals
directives judgments rulings injunctions writs and awards of, or issued promulgated
enforced or entered by, any and all Governmental Bodies or court of competent jurisdiction, or
other requirement or rule of law.

(mm) “Liability” means as to any Person, any debt, adverse claim, liability,
duty, responsibility, obligation, commitment, assessment, cost, expense, loss expenditure,
charge, fee, penalty, fine, contribution or premium of any kind or nature whatsoever, whether
known or unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or
unaccrued liquidated or unliquidated or due or to become due, and regardless of when
sustained incurred or asserted or when the relevant events occurred or circumstances existed
including all costs and expenses relating thereto.

(nn) "Leased Real Pro ert ” means all of the real property leased
subleased licensed used or occupied by the Seller, together with all buildings structures

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fixtures and improvements erected thereon, and any and all rights privileges easements
licenses hereditaments and other appurtenances relating thereto, and used or held for use, in
connection with the operation of the Business

(oo) “Ordinarv Course of Business” means the ordinary and usual course of
normal day to day operations of the Business; provided however, that the Purchaser
acknowledges that (i) the Company has commenced the Chapter 7 Case; and (ii) the Park has
been closed since September 21, 2008,

(pp) “Owned Real Property” has the meaning specified therefor in
Section 1.1(b[.

(qq) “Park” means the Hard Rock Park theme park located in Myrtle
Beach, South Carolina.

(rr) “Parties” has the meaning specified therefor in Section 10.1§131.
(ss) “Permits” means all notifications licenses permits (including

environmental, construction and operation permits), franchises certificates approvals
consents waivers clearances exemptions classifications registrations variances orders
tariffs rate schedules and other similar documents and authorizations issued by any
Govemmental Body to the Company and used or held for use, applicable to ownership of the
Purchased Assets or assumption of the Assumed Liabilities

(tt) “Permitted Encumbrances” means (i) Encumbrances for utilities and
current Taxes not yet due and payable or being contested in good faith; (ii) easements rights of
way, restrictive covenants encroachments and similar non-monetary encumbrances or non-
monetary impediments against any of the Purchased Assets which do not, individually or in the
aggregate, materially adversely affect the operation of the Business (iii) applicable zoning
Laws building codes, land use restrictions and other similar restrictions imposed by Law which
do not, individually or in the aggregate, materially adversely affect the operation of the
Business (iv) such other Encumbrances or title exceptions as are set forth on Schedule 9.1gssl
or which would be shown by an accurate updated survey of the Owned Real Property and (v)
such other Encumbrances or title exceptions which do not render title unmarketable..

(uu) “Person” means an individual, corporation, partnership, limited
liability company, joint venture, association, trust, unincorporated organization, labor union,
estate, Govemmental Body or other entity or group.

(vv) “Pre-Petition Loan Documents” means the Pre-Petition Loan and all
other Loan Documents (as defined therein) and all other documents agreements and
instruments executed or delivered in connection therewith.

(ww) “Purchase Price” has the meaning specified therefor in Section 2.1§a1.
(xx) “Purchased Assets” has the meaning specified therefor in Section 1.1.

(yy) “Purchaser” has the meaning specified therefor in the preamble hereto.

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(zz) “Purchaser’s Documents” means collectively each agreement,
document, instrument or certificate (i) contemplated by this Agreement and (ii) to be executed
by the Purchaser in connection with the consummation of the transactions contemplated by this
Agreement.

(aaa) “ ualified Bidder” means a person or entity that has made a cash
deposit in an amount of at least the amount of the Deposit and has provided to the Trustee
evidence that such person has the ability to close an Altemative Transaction in the time frame
contemplated by this Agreement.

(bbb) “Representatives” has the meaning specified therefor in Section 7.2(a1.

(ccc) “Sale Motion” means the motion or motions of the Trustee on behalf
of the Bankruptcy Estate, in form and substance reasonably acceptable to the Trustee and the
Purchaser, seeking approval and entry of the Sale Order,

(ddd) “Sale Order” means an order substantially in the form attached hereto
as Exhibit B and otherwise in form and substance reasonably satisfactory to the Trustee and the
Purchaser.

(eee) “Schedules” means the Schedules attached to this Agreement, which
schedules are incorporated into and form an integral part of this Agreement.

(fff) “Senior Revolving Lenders” means the lenders party to the Revolving
Credit Agreement, dated as of March 30, 2006, by and among the Company, as Borrower,
Deutsche Bank Trust Company Americas as Agent and a Lender, Deutsche Bank Securities
lnc., as Joint Lead Arranger, Jefferies Finance LLC, as Joint Lead Arranger and a Lender and
each of the other lenders party thereto (the “Pre-Petition Loan”).

 

(ggg) “B” and “Taxes” mean any and all taxes charges fees tariffs
duties impositions, levies or other assessments imposed by any Govemmental Body, and
include any interest or penalties attributable to, or imposed upon, or with respect to, Taxes

(hhh) “Tax Return” means any retum, report, information return, declaration,
claim for refund or other document (including any schedule or related or supporting
information) supplied or required to be supplied to any Govemmental Body with respect to
Taxes including amendments thereto.

(iii) “Transfer Taxes” has the meaning specified therefor in
Section lO.lga[.

(j j j) “Trustee” has the meaning specified therefor in the preamble hereto.

(kkk) “Trustee’s Documents” means collectively each agreement, document,

instrument or certificate (i) contemplated by this Agreement and (ii) to be executed by the
Trustee in connection with the consummation of the transactions contemplated by this
Agreement

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ARTICLE X.

TAXES
10.1 Additional Tax Matters

(a) Any sales, use, purchase, transfer, franchise, deed fixed asset, stamp,
documentary stamp, use or other Taxes and recording charges (the “Transfer Taxes”) which
may be payable by reason of the sale of the Purchased Assets or the assumption of the Assumed
Liabilities under this Agreement or the transactions contemplated herein shall be borne and
timely paid by the Purchaser as an Assumed Liability, and the Purchaser shall indemnify,
defend (with counsel reasonably satisfactory to the Trustee), protect, and save and hold the
Trustee and the Bankruptcy Estate harmless from and against any and all claims charges
interest or penalties assessed imposed or asserted in relation to any such Taxes The Purchaser
shall be responsible for preparing and filing all Tax Retums with respect to Transfer Taxes

(b) The Purchaser, the Trustee and the Company (the “Parties”) shall use their
respective reasonable best efforts to agree in good faith upon an allocation among the
Purchased Assets of the sum of the Purchase Price and the Assumed Liabilities consistent with
Section 1060 of the Code and the Treasury Regulations thereunder within thirty (30) days after
the Closing Datel In the event that the Parties cannot agree on a mutually satisfactory
allocation within such thirty (30) day period the Parties shall appoint an independent
accounting firm that shall, at the Bankruptcy Estate’s and the Purchaser’s joint expense,
determine the appropriate allocation In the event that the Parties cannot promptly agree on the
selection of an accounting firm to act as the independent accounting firm, either Party may
request the American Arbitration Association to appoint a nationally recognized independent
accounting firm, and such appointment shall be final, binding and conclusive on the Company
and the Purchaser. Resolution of any disagreements shall be made by the independent
accounting firm in a writing addressed to all Parties within thirty (30) days following referral to
it by the Parties of such disagreements in accordance with this Agreement The finding of such
independent accounting firm shall be final, binding and conclusive on the Parties After
determination of the allocation by agreement of the Parties or by binding determination of the
independent accounting firm, the Purchaser shall prepare and deliver IRS Form 8594 to the
Trustee and the Company within thirty (30) days after the allocation (as determined in this
Section 10.1§b1 to be filed with the Intemal Revenue Service. The Company (or the appropriate
Person on behalf of the Company) and the Purchaser shall report the transactions contemplated
by this Agreement for U.S. Federal income Tax and all other Tax purposes in a manner
consistent with the allocation determined pursuant to this Agreement. In any examination
audit or other proceeding related to the determination of any Tax, neither the Purchaser nor the
Company shall contend or represent that such allocation determined under this Section 10.lgb1
is not a correct allocation The Purchaser, the Trustee and the Company shall notify and
provide the other with reasonable assistance in the event of an examination audit or other
proceeding regarding the agreed-upon allocation of the Purchase Price and the Assumed
Liabilities Notwithstanding any other provision of this Agreement, the terms and provisions of
this Section lO.l§bl shall survive the Closing without limitation

 

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ARTICLE XI.

RISK OF LOSS

11.1 Trustee covenants that it will maintain the existing property or casualty insurance
on the Owned Real Property, Inventory and Equipment until the Closing, ln the event of any
damage or destruction to any portion of the Owned Real Property, Inventory and Equipment
prior to the date of Closing, the estimated cost of repair or replacement of which, as determined
by a third party selected by Trustee and approved by Purchaser, is in excess of Five Hundred
Thousand Dollars ($500,000.00), Purchaser shall have the option to terminate this Agreement
upon written notice to the Trustee prior to Closing, whereupon the deposit shall be immediately
refunded to Purchaser, and neither the Trustee nor Purchaser shall have any further right or
obligation to the other under this Agreement unless expressly provided otherwise herein If
Purchaser does not exercise its option under the immediately preceding sentence of this Section
11.1 to terminate this Agreement, then the Agreement shall remain in full force and effect; and
all of the Trustee’s and/or the Bankruptcy Estate’s right to all insurance proceeds resulting from
such damage or destruction shall be assigned in writing by the Trustee to Purchaser, the Trustee
shall provide a credit to Purchaser at Closing in the amount of any applicable deductible, and the
Trustee shall have no further obligation to Purchaser with regard to such damage or destruction
In the event of any damage or destruction to the Owned Real Property, Inventory and Equipment
prior to the date of Closing, the estimated cost of repair or replacement of which, as determined
by a third party contractor selected by the Trustee and approved by Purchaser, is Five Hundred
Thousand Dollars ($500,000.00) or less Purchaser shall have no right to terminate this
Agreement as a result thereof; and all of the Trustee’s and/or the Bankruptcy Estate’s right to all
insurance proceeds resulting from such damage or destruction shall be assigned in writing by the
Trustee to Purchaser, the Trustee shall provide a credit to Purchaser at Closing in the amount of
any applicable deductible, and the Trustee shall have no further obligation to Purchaser with
regard to such damage or destruction

11.2 In the event of a taking by condemnation or similar proceedings or actions of all
of the Owned Real Property or any material portion of the Owned Real Property being ten
percent (10%) or more of the land or any portion of the improvements prior to the date of
Closing, Purchaser shall have the option to terminate this Agreement upon written notice to the
Trustee prior to Closing whereupon the deposit shall be immediately refunded to Purchaser. lf
Purchaser does not exercise its option under the immediately preceding sentence of this Section
11.2 to terminate this Agreement, then the Agreement shall remain in full force and effect and
the Trustee shall assign or pay to Purchaser at Closing, the Trustee’s and/or the Bankruptcy
Estate’s entire interest in and to any and all condemnation awards or proceeds from any such
proceedings or actions in lieu thereof.

ARTICLE XII.
MISCELLANEOUS
12.1 Pa}@ent of Expenses. Except as otherwise provided in this Agreement and

whether or not the transactions contemplated hereby are consummated the Trustee and the
Purchaser shall bear their own expenses incurred or to be incurred in connection with the

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negotiation and execution of this Agreement and each other agreement, document and instrument
contemplated by this Agreement and the consummation of the transactions contemplated hereby
and thereby. Notwithstanding the foregoing, the Trustee shall be responsible for any investment
banking, brokerage, finder’s or similar fee or commission payable to Raymond J ames &
Associates Inc. in connection with this Agreement on the transactions contemplated hereby.

12.2 Survival of Representations and Warranties; Survival of Covenants The parties
hereto agree that the representations and warranties contained in this Agreement shall expire
upon the Closing Date, The parties hereto agree that the covenants contained in this Agreement
to be performed at or after the Closing shall survive in accordance with the terms of the
particular covenant or until fully performed

12.3 Entire Agreement; Amendments and Waivers. This Agreement (including the
schedules and exhibits hereto) represents the entire understanding and agreement between the
parties hereto with respect to the subject matter hereof. This Agreement may be amended
supplemented or changed and any provision hereof may be waived only by written instrument
making specific reference to this Agreement signed by the party against whom enforcement of
any such amendment, supplement, modification or waiver is sought. No action taken pursuant to
this Agreement, including without limitation, any investigation by or on behalf of any party shall
be deemed to constitute a waiver by the party taking such action of compliance with any
representation, warranty, covenant or agreement contained herein The waiver by any party
hereto of a breach of any provision of this Agreement shall not operate or be construed as a
further or continuing waiver of such breach or as a waiver of any other or subsequent breach. No
failure on the part of any party to exercise, and no delay in exercising, any right, power or
remedy hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of
such right, power or remedy by such party preclude any other or further exercise thereof or the
exercise of any other right, power or remedy. All remedies hereunder are cumulative and are not
exclusive of any other remedies provided by applicable Law.

12.4 Counterparts. For the convenience of the parties hereto, this Agreement may be
executed (by facsimile or PDF signature) in any number of counterparts each such counterpart
being deemed to be an original instrument, and all such counterparts shall together constitute the
same agreement,

12.5 Governing Law, THIS AGREEMENT IS TO BE GOVERNED BY AND
CONSTRUED lN ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO THE
EXTENT APPLICABLE, AND WHERE STATE LAW IS IMPLICATED, THE LAWS OF
THE STATE OF NEW YORK SHALL GOVERN, WITHOUT GIVING EFFECT TO THE
CHOICE OF LAW PRINCIPLES THEREOF, INCLUDING ALL MATTERS OF
CONSTRUCTION, VALIDITY AND PERFORMANCE.

12.6 Jurisdiction, Waiver of Jury Trial.

(a) THE BANKRUPTCY COURT WILL HAVE JURISDICTION OVER
ANY AND ALL DISPUTES BETWEEN OR AMONG THE PARTIES, WHETHER IN LAW
OR EQUITY, ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY
AGREEMENT CONTEMPLATED HEREBY; PROVIDED, HOWEVER, THAT IF THE

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BANKRUPTCY COURT IS UNWILLING OR UNABLE TO HEAR ANY SUCH DISPUTE,
THE COURTS OF THE STATE OF NEW YORK AND THE FEDERAL COURTS OF THE
UNITED STATES OF AMERICA LOCATED lN THE SOUTHERN DISTRICT OF THE
STATE OF NEW YORK WILL HAVE SOLE JURISDICTION OVER ANY AND ALL
DISPUTES BETWEEN OR AMONG THE PARTIES, WHETHER IN LAW OR EQUITY,
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY AGREEMENT
CONTEMPLATED HEREBY.

(b) EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

12.7 Notices. Unless otherwise set forth herein, any notice, request, instruction or
other document to be given hereunder by any party to the other parties shall be in writing and
shall be deemed duly given (i) upon delivery, when delivered personally, (ii) one (l) Business
Day after being sent by overnight courier or when sent by facsimile transmission (with a
confirming copy sent by overnight courier), and (iii) three (3) Business Days after being sent by
registered or certified mail, postage prepaid as follows:

If to the Trustee:

Alfred Giuliano,

Chapter 7 Trustee on behalf of the Bankruptcy Estate
Giuliano Miller & Company, LLC

Berlin Business Park

140 Bradford Drive

West Berlin, NJ 08091

Facsimile: 856.767.3500

Electronic mail: atgiuliano@giulianomiller.com

With a copy (which shall not constitute effective notice) to:

Cozen O’Connor

1201 North Market Street

Suite 1400

Wilmington, DE 19801

Attn: John T. Carroll, 111

Facsimile: 302.295.2013

Electronic mail: jcarroll@cozen.com

With a copy (which shall not constitute effective notice) to:

Deutsche Bank Trust Company Americas
as Agent to the Senior Revolving Lenders
60 Wall Street

New York, NY 10005

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Attn: Michael Meagher
Facsimile: 212.797.5695
Electronic mail: Michael.meagher@db.com

With a copy (which shall not constitute effective notice) to:

White & Case LLP

1155 Avenue of the Americas

New York, NY 10036

Attn: Scott Greissman, Esq.

Facsimile: 212.354.8113

Electronic mail: sgreissman@whitecase.com

If to the Purchaser:

FPI MB Entertainment LLC

C/o Dewey & LeBoeuf LLP

One Embarcadero Center, Suite 400
San Francisco, CA 94111

Attn: Bennett G. Young

Facsimile: 415.951.1180
Electronic mail: byoung@dl.com

With a copy (which shall not constitute effective notice) to:

Dewey & LeBoeuf LLP

One Embarcadero Center, Suite 400
San Francisco, CA 9411 1

Attn: Bennett G. Young

Facsimile: 415.951.1180
Electronic mail: byoung@dl.com

And to:

Diamond McCarthy LLP

120 Elm Street, 34th Floor

Dallas Tx 75270

Attn: Walter (Skip) Scott

Facsimile: 214.389.5399

Electronic mail: SScott@diamondmccarthy. com

or to such other Persons or addresses as may be designated in writing by the party to
receive such notice.

12.8 Binding Effect; Assignment This Agreement shall be binding upon the Purchaser
and subject to entry of the Sale Order, the Trustee, and inure to the benefit of the parties and
their respective successors and permitted assigns Nothing in this Agreement shall create or be

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deemed to create any third party beneficiary rights in any Person or entity not a party to this
Agreement except as provided below. No assignment of this Agreement or of any rights or
obligations hereunder may be made by the Trustee or the Purchaser (by operation of law or
otherwise) without the prior written consent of the other party and any attempted assignment
without the required consents shall be void; provided that the Purchaser may assign its rights
and obligations hereunder in whole or in part to one or more Affiliates of the Purchaser (subject
to the next succeeding sentence). No assignment of any obligations hereunder shall relieve the
parties hereto of any such obligations Upon any such permitted assignment, the references in
this Agreement to the Purchaser shall also apply to any such assignee unless the context
otherwise requires

12.9 Severability. If any term or other provision of this Agreement is invalid illegal or
incapable of being enforced by any rule of Law or public policy, all other conditions and
provisions of this Agreement shall nevertheless remain in full force and effect so long as the
economic or legal substance of the transactions contemplated hereby is not affected in a manner
adverse to any party, Upon such determination that any term or other provision is invalid illegal
or incapable of being enforced the parties hereto shall negotiate in good faith to modify this
Agreement so as to effect the original intent of the parties as closely as possible in an acceptable
manner to the end that the transactions contemplated hereby are fulfilled to the fullest extent
possible..

12.10 Non-Recourse. Except as expressly contemplated by this Agreement, no past,
present or future director, officer, employee, incorporator, member, partner, lender or equity
holder of the Trustee or the Company shall have any liability for any obligations or liabilities of
the Trustee under this Agreement or Trustee’s Documents of or for any claim based on, in
respect of, or by reason of, the transactions contemplated hereby and thereby.

12.11 LlMITATlON ON DAMAGES. IN NO EVENT SHALL EITHER PARTY OR
THEIR RESPECTIVE AFFILIATES HAVE ANY LIABILITY TO THE OTHER PARTY GR
ANY OTHER PERSON FOR ANY SPECIAL, CONSEQUENTIAL, INDIRECT,
EXEMPLARY OR PUNITIVE DAl\/IAGES (INCLUDING ANY DAMAGES ON ACCOUNT
OF LOST PROFITS OR OPPORTUNITIES OR BUSINESS INTERRUPTION AND THE
LIKE), WHETHER BY STATUTE, lN TORT OR UNDER CONTRACT, AND ANY SUCH
CLAIM, RIGHT OR CAUSE OF ACTION FOR ANY SUCH DAMAGES IS HEREBY
FULLY WAIVED, RELEASED AND FOREVER DISCHARGED.

12.12 Certain lnterpretations.

(a) Unless otherwise expressly provided for purposes of this Agreement, the
following rules of interpretation shall apply:

(i) All references in this Agreement to Articles Sections Schedules
and Exhibits shall be deemed to refer to Articles, Sections Schedules and Exhibits to this
Agreement,

(ii) All Exhibits and Schedules annexed hereto or referred to herein are
hereby incorporated in and made a part of this Agreement as if set forth in full herein

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Any capitalized terms used in any Schedule or Exhibit but not otherwise defined therein
shall be defined as set forth in this Agreement.

(iii) The Article, Section and paragraph captions herein are for
convenience of reference only, do not constitute part of this Agreement and shall not be
deemed to limit or otherwise affect any of the provisions hereof,

(iv) The words “include,” includes” and “including,” when used herein
shall be deemed in each case to be followed by the words “without limitation” (regardless
or whether such words or similar words actually appear).

(v) When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Agreement, the date
that is the reference date in calculating such period shall be excluded lf the last day of
such period is not a Business Day, the period in question shall end on the next succeeding
Business Day.

(vi) Any reference in this Agreement to $ shall mean U.S. dollars

(vii) Any reference in this Agreement to gender shall include all
genders and words imparting the singular number only shall include the plural and vice
versa.

(viii) The words such as “herein,” “hereinafter,” “hereof,” and
“hereunder” refer to this Agreement as a whole and not merely to a subdivision in which
such words appear unless the context otherwise requires

(b) The parties hereto agree that they have been represented by legal counsel

during the negotiation and execution of this Agreement and therefor, waive the application of
any Law, regulation holding or rule of construction providing that ambiguities in an agreement
or other document shall be construed against the party drafting such agreement or document

(c) The Purchaser acknowledges hereby that the Trustee may not comply with

the provisions of any bulk transfer laws of any jurisdiction in connection with the transactions
contemplated by this Agreement.

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IN WITNESS WHEREOF, the parties hereto have caused this Agreement, or a counterpart
hereof, to be executed by their respective duly authorized officers as of the date first above
written

TRUSTEE:

ALFRED GIULIANO,

as Chapter 7 Trustee on behalf of the
Bankruptcy Estate

 

 

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PURCHASER:

FPI MB ENTERTAINMENT LLC

By:

 

Naine:
Title:

By:

 

Name:
Title:

 

 

 

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lN WITNESS WHEREOF, the parties hereto have caused this Agreement, or a
counterpart hereof, to be executed by their respective duly authorized officers as of the date first
above written

TRUSTEE:

ALFRED GIULIANO,

as Chapter 7 Trustee on behalf of the
Bankruptcy Estate

 

PURCHASER:

FPI MB ENTERTAINMENT LLC

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Name: //¢¢" ' S`rb/;'“/
Title: DN.C(_ 01

By:

 

By:

 

Name:
Title:

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above written

TRUSTEE:

ALFRED GIULIANO,

as Chapter 7 Trustee on behalf of the
Bankruptcy Estate

 

PURCHASER:

FPI MB ENTERTAINMENT LLC

 

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